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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                 )         Chapter 11
                                                       )
REPUBLIC METALS REFINING                               )         Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                  )
                                                       )         (Jointly Administered)
                             Debtors.                  )
                                                       )

                  OMNIBUS RESPONSE OF THE SENIOR LENDERS
           TO CUSTOMER STATEMENTS PURSUANT TO ORDER APPROVING
         UNIFORM PROCEDURES FOR RESOLUTION OF OWNERSHIP DISPUTES




1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209,
New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378),
Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High
Tech Metals, LLC, 13001 NW 38th Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic
LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604), R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
200001 China (1639) and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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        Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers

Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International

Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Lenders”) submit this omnibus response (this “Response”) to the Statements of Claimed

Ownership and Claims (the “Customer Statements”) filed pursuant to the Court’s Order

Approving Uniform Procedures for Resolution of Ownership Disputes (the “Procedures Order”)2

[Docket No. 395], and in support thereof respectfully state as follows:

                                     PRELIMINARY STATEMENT

        1.       50 Customer Statements have been filed by Customers pursuant to the Procedures

Order. The Customers each assert ownership interests in the Assets based on various theories—

bailments, leases, transfers of title, constructive trusts and other equitable arguments. The truth

is simple: Each Customer is a general unsecured claimant of the estates. The Senior Lenders

hold duly perfected first priority security interests in, among other things, all of the Debtors’

inventory and proceeds. The Customers had the same opportunity to perfect security interests in

goods sold to, or purchased from, the Debtors, but none did. Further, even assuming, arguendo,

that any Customer could establish a valid ownership claim, the only identifiable material subject

to the Ownership Dispute located at the Debtors’ refinery as of the Petition Date consisted of

$8.2 million of prepaid finished product and $212,484 of unrefined raw material. Accordingly,

with a few exceptions, no Customer can trace its purported “owned” materials to property or

proceeds in the hands of the estates as of the Petition Date. Tracing is a prerequisite to recovery

2
           All capitalized terms used but not defined herein have the meaning ascribed to such terms in the
Procedures Order.



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under each theory advanced by the Customers. Accordingly, no Customer can establish rights to

the Debtors’ inventory or proceeds superior to the rights of the Senior Lenders.

       2.      In accordance with Paragraph 2(e) of the Procedures Order, this Response is

broken into five sections: (i) background on the Senior Lenders and their relationship with the

Debtors; (ii) an overview of the Customer Statements, addressed by “bucket”; (iii) a summary of

the applicable law governing the Ownership Dispute; (iv) a summary of the legal basis for the

Senior Lenders’ security interests and liens on the Assets; and (v) a summary of the legal basis

for asserting that the Assets are property of the estates.

                                         BACKGROUND

   A. The Chapter 11 Cases

       3.      Each of the above-captioned debtors and debtors in possession (collectively, the

“Debtors”) filed a voluntary petition for relief under chapter 11 of the United States Bankruptcy

Code (the “Bankruptcy Code”) on November 2, 2018 or November 21, 2018.

       4.      The Debtors are continuing to operate and manage their properties and assets as

debtors-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the chapter 11 cases.

       5.      On November 19, 2018, the Office of the United States Trustee for the Southern

District of New York appointed the Official Committee of Unsecured Creditors in these cases

(the “Committee”) [Docket No. 113]. The Committee consists of the following seven members:

(i) Coeur Rochester, Inc., (ii) Bayside Metal Exchange, (iii) So Accurate Group Inc., (iv) Cyber-




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Fox Trading, Inc., (v) Minera Triton Argentina S.A., (vi) Pyropure Inc. and (vii) Minera Real de

Ora S.A. de C.V.3

         6.       The factual background relating to the commencement of the chapter 11 cases is

set forth in detail in the Declaration of Scott Avila, as Chief Restructuring Officer, in Support of

Chapter 11 Petitions and First Day Motions (the “Avila Decl.”) [Docket No. 3].

    B. The Senior Lenders’ Relationship with the Debtors

         7.       As described in the Avila Decl., as of the Petition Date, the Senior Lenders were

collectively owed (and continue to be owed) over $177 million by the Debtors under certain

credit agreements, master netting agreements and lease agreements (collectively, the “Credit and

Lease Agreements”).4 Avila Decl., Attachment A. The obligations under the Credit and Lease

Agreements are secured by valid and perfected liens on substantially all of the Debtors’ assets,

including the Debtors’ inventory and the proceeds thereof. Id. ¶ 21.

         8.       The Senior Lenders are party to a certain Second Amended and Restated

Intercreditor Agreement, dated as of February 19, 2016 (as amended from time to time, the

“Intercreditor Agreement”), which governs the respective rights and interests of the Senior

Lenders in the assets of RMC. Id. ¶ 19. RMC executed the Intercreditor Agreement. Id.

         9.       With the exception of Mitsubishi and ICBCS, each of the Senior Lenders first

entered into Credit and Lease Agreements with the Debtors between January 2016 and October




3
             Each Committee member other than Minera Triton Argentina S.A. filed a Customer Statement
asserting, among other things, that the Assets are not property of the estates. See Docket Nos. 411, 432, 441, 456,
470 and 471.
4
            In addition, ICBCS and Debtor Republic Metals Corporation (“RMC”) are parties to a certain
Unallocated Precious Metals Accounts Agreement dated May 28, 2015 (as amended, the “UPMAA”). Pursuant to
the UPMAA, ICBCS maintained RMC’s “Loco London” clearing account (the “London Clearing Account”). In the
ordinary course of its business, RMC used the London Clearing Account to settle transactions with Customers via
Loco London metal credit. The UPMAA and the London Clearing Account services provided by ICBCS to RMC
thereunder were separate and independent of ICBCS’ Credit and Lease Agreement with RMC.

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2017. Id. ¶¶ 23–30. Mitsubishi and ICBCS first entered into Credit and Lease Agreements with

RMC in December 2008 and January 2011, respectively. Id.

       10.     The Debtors made certain representations and warranties in the Credit and Lease

Agreements with respect to, among other things, the financial condition and solvency of the

Debtors, the accuracy of the financial statements provided to the Senior Lenders, the Debtors’

compliance with certain financial covenants and the absence of defaults. The Credit and Lease

Agreements were all executed by Jason Rubin, the President and Chief Executive Officer of the

Debtors, or David Comite, the Treasurer and Chief Financial Officer of the Debtors, or both.

       11.     Pursuant to the Credit and Lease Agreements, RMC was obligated to periodically

furnish the Senior Lenders with borrowing base reports (the “Borrowing Base Reports”), which

calculated the collateral borrowing base available to support RMC’s existing extensions of credit

and requests for additional extensions of credit under the Credit and Lease Agreements. Each

Borrowing Base Report was executed by David Comite and certified both the accuracy of the

information contained therein and the absence of any defaults under the Credit and Lease

Agreements.

       12.     In addition to the Borrowing Base Reports, RMC was also obligated to provide

the Senior Lenders with annual and quarterly financial statements pursuant to the Credit and

Lease Agreements. The annual financial statements were audited by independent outside

accounting firms (Crowe Horwath LLP and EisnerAmper LLP) and the quarterly financial

statements were unaudited and delivered with an independent accountants’ compilation report

from Maria I. Machado, P.A.

       13.     In or around June 2018, the Senior Lenders were first advised by the Debtors of

significant discrepancies in the value of the Senior Lenders’ collateral as disclosed in the



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Borrowing Base Reports. Specifically, the Borrowing Base Report delivered to the Senior

Lenders on May 30, 2018 listed eligible inventory of $219,570,312.54 as of May 25, 2018 and a

borrowing base excess of $11,124,342.34. However, the subsequent Borrowing Base Report,

delivered to the Senior Lenders on June 20, 2018, listed eligible inventory of $144,157,698.29 as

of June 8, 2018 and a borrowing base shortfall of $39,486,098.03—a loss of over $75 million in

asset value from one Borrowing Base Report to the next—delivered only three weeks later. The

loss remains unaccounted for today. As a result of this precipitous drop in collateral value,

numerous defaults were triggered under the Credit and Lease Agreements.

       14.     The draft financial statements delivered to the Senior Lenders in June 2018 for the

fiscal quarter ending March 31, 2018, further confirmed the apparent massive loss of collateral,

reflecting a decrease in inventory value from $252,322,502 as of March 31, 2017, to

$171,319,259 as of March 31, 2018, a drop of over $80 million.

       15.     The Debtors attribute the collateral disappearance to “a significant discrepancy in

[the Debtors’] inventory accounting.” Id. at ¶ 36. However, to date, no satisfactory explanation

has been provided for the inventory deficiency and loss of the Senior Lenders’ collateral. Based

on the information provided after the fact, the Senior Lenders believe that the Debtors were

insolvent as early as 2012, that the Debtors masked continued operating losses with substantial

cash loans and precious metals leases from the Senior Lenders, and that there are substantial

claims against the Debtors’ insiders and auditors arising from and related to the foregoing. Over




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the same period, the Debtors’ officers and shareholders took in excess of $40 million from the

Debtors in the form of dividends, salaries and bonuses.5

         16.      On July 10, 2018, the Senior Lenders served termination, default and demand

notices on the Debtors that among other things, accelerated all debt obligations and terminated

and liquidated lease obligations under the Credit and Lease Agreements. Id. at ¶ 38. Despite the

existing events of default under the Credit and Lease Agreements, continuing operational losses,

and substantial deterioration in and depletion of the Senior Lenders’ collateral, the Senior

Lenders entered into a forbearance arrangement with the Debtors and agreed to stand still from

exercising their rights and remedies. Instead, the Senior Lenders elected to work constructively

with the Debtors and their professionals to find a long-term solution for the benefit of all parties

in interest.

         17.      After nearly four months of intense good faith negotiations, the Senior Lenders

were ready, able and willing to close a prepetition sale transaction that would have provided for,

among other things, an assumption of substantially all of the Customers’ obligations without

repayment in full of the Senior Lenders’ debt. The deal fell apart due to insurmountable tax

issues through no fault of the Senior Lenders.

         18.      During this period, the Senior Lenders agreed to forego principal payments and

default rate interest. At the same time, the Debtors continued to purchase and refine raw

materials from Customers. The Debtors’ schedules reflect that Customers received payments in




5
              This summary of the inventory issue is provided solely for background purposes. The Senior Lenders
reserve all rights with respect to the Debtors’ financial affairs and any rights, remedies, claims and/or causes of
action, whether at law or in equity, of any of the Senior Lenders against any current and former directors, officers,
principals, agents, advisors, accountants, auditors, consultants, attorneys, employees and other professionals of the
Debtors arising from or related thereto. The Senior Lenders understand that the Committee is also investigating
potential claims, including claims relating to the inventory shortfall.

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excess of $400 million during the 90-day period preceding the Petition Date, primarily in the

form of Loco London metal credit from the London Clearing Account.6

        19.      Following the failure of the out of court efforts, the Debtors commenced these

chapter 11 cases on November 2, 2018 (the “Petition Date”).

    C. The Cash Collateral Motion and Interim Cash Collateral Orders

        20.      On the Petition Date, the Debtors filed the Motion For Entry of Interim and Final

Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to

the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related Relief (the

“Initial Cash Collateral Motion”) [Docket No. 10].

        21.      On November 13, 2018, the Debtors and the Senior Lenders filed the Joint

Supplement of the Debtors and the Senior Lenders to the Cash Collateral Motion (together with

the Initial Cash Collateral Motion, the “Cash Collateral Motion”) [Docket No. 78].

        22.      The Court has entered four interim cash collateral orders [Docket Nos. 54, 277,

372 and 538] (collectively, the “Interim Cash Collateral Orders”).

        23.      Pursuant to the Interim Cash Collateral Orders, among other things, the Senior

Lenders consented to the Debtors’ use of their cash collateral to fund the costs and expenses of

administering the chapter 11 cases, and the Senior Lenders were granted superpriority claims and

adequate protection liens on substantially all of the Debtors’ assets to protect against any

diminution in value of their collateral.




6
            See Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy, Republic Metals
Corporation, Part 2 (the “RMC SOFA”) [Docket No. 484]. By way of example only, the RMC SOFA reflects
aggregate payments to certain Customers party to the Ownership Dispute in the following amounts: Coeur
Rochester, Inc. and Coeur Mexicana S.A. de C.V. ($19,554,546.92); GEIB Refining Corp. ($7,943,734); Mid-States
Recycling, Inc. ($4,766,256); Premier Gold Mines Ltd. ($19,625,543); Pretium Exploration Inc. ($41,374,571); So
Accurate Group ($12,191,800); and Yamana Gold, Inc. ($40,577,016).

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   D. The Debtors’ Refining Process

       24.     As set forth in the Avila Decl., prior to the Petition Date, the Debtors were a

refiner of precious metals, with a primary focus on gold and silver. Avila Decl. ¶ 7. Customers

shipped unrefined gold and silver to the Debtors for refining from all over the United States and

the Western Hemisphere. Id. The Debtors refined unrefined metals into finished products,

including refined bars of both gold and silver, grains, and minted and casted investment grade

coins and bars of gold and silver of various designs and sizes. Id.

       25.     When a Customer shipped raw materials to the Debtors, the Customer elected, on

a shipment by shipment basis, whether to receive an “advance” or to designate the shipment as

“pooled” and defer payment until a later date. If the Customer elected to receive an “advance”

for a shipment, the Debtors would pay the Customer an advance of generally between 96%−98%

of the estimated value of the shipment upfront (generally upon shipment and prior to receipt) and

then reconcile the final amount owed after the assays establishing the actual precious metal

content (and hence value) were finalized. A “pooled” shipment did not require any advance

payment prior to refining. Rather, “pooled” shipments were paid on an agreed upon settlement

date or when the Customer requested settlement. The Debtors paid Customers for their

unrefined metal either by check or wire transfer, Loco London metal credit transfer to the

Customer’s designated metal account or return of refined metal of like kind and quality, less, in

each case, applicable refining and/or retention charges. Id. at ¶ 7. Most often, Customers

requested payment in Loco London metal credit. Id.

       26.     After raw materials were received, they were weighed, melted, sampled for assay

testing and put into the refining process, generally on the same day. With the exception of Peace

of Mined customers (discussed below), individual customer lots were commingled with other



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customer lots and “clean up bars” (i.e., residual material that comes out of the refining process)

to create a “house bar” and were put into the dissolve process. The dissolve process was a

procedure by which “house bars” were dissolved in acid to a create a solution, analogous to

dissolving sugar in hot water. Depending on the type of metal, the solution was then treated,

filtered, dried, melted into bars, grains or ingots and then sampled for assay testing in various

stages. The refined materials were then sent to the vault as finished product, sent to the mint for

value-added processing or put back through the refining process for further refining. The

Debtors cannot identify (1) the customer lots associated with given raw materials once

commingled (i.e., upon dissolution if not earlier), (2) when given raw materials come out of the

refining process or (3) what finished products are produced from given raw materials.

       27.     As advertised on the Debtors’ website, the Debtors offered a “Peace of Mined”

service to Customers for traceable closed-circuit single-batch refining at an additional cost. See

Republic Metals Corporation, Peace of Mined™, https://www.republicmetalscorp.com/peace-of-

mined (last visited Feb. 18, 2019) (the “Peace of Mined Terms”). A copy of the Peace of Mined

Terms is attached hereto as Exhibit 1.

       28.     Customers paying for the Peace of Mined service could ensure that their metals

were never commingled at any point during the refining process. The Peace of Mined Terms

provide, in pertinent part:

       In order to create a 100% traceable product, Republic Metals’ Peace of Mined™
       refining circuit uses a proprietary process that allows for batch refining. Unlike
       electrolytic refining, batch refining allows for material to freshly enter a clean
       circuit during the refining process, and at no point come in contact with any other-
       sourced metal. In the Peace of MinedTM refining circuit, the designated material
       is the only material present, and all of that material is removed at termination of
       the process, so there are no leftovers in the circuit−it can in no way be
       commingled with metal originating from other sources.

See Peace of Mined Terms.


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        29.      No Customer that filed a Customer Statement paid for the Peace of Mined

service.7 No Customer disputes this. Based on the foregoing, no Customer received back, or

was entitled to receive back, the identical raw material that it delivered to the Debtors for

refining as a finished product. The Customers knew this fact—as plainly stated in RMC’s

Standard Terms and Conditions (the “Standard Terms”):

        Precious metals are fungible; therefore any unit of material is equivalent to
        another of like kind, i.e. similar quality and/or value, and is deemed adequate
        payment for purposes of outstanding Pool Accounts. Returnable metal
        represented in a Customer Pool Account does not pertain to specific, segregated,
        or identifiable metal; rather it represents a future obligation of RMC to return
        common inventory of gold, silver, platinum, palladium, or platinum group metals.
        RMC reserves the right to return precious metals to Customer of like kind
        representing the ounces of precious metals owed to Customer.

Standard Terms, p. 3.

        30.      A copy of the Standard Terms is attached hereto as Exhibit 2 and available on the

Debtors’ website. See Republic Metals Corporation, Republic Metals Corporation Standard

Terms and General Operating Conditions, https://www.republicmetalscorp.com/terms-conditions

(last visited Feb. 18, 2019).8

        31.      Each Customer executed a copy of the Standard Terms as part of the Debtors’

new customer onboarding process. See Standard Terms at p.5.9




7
           Upon information and belief, the Debtors only had two Customers that utilized the program. Neither
Customer has filed a Customer Statement or appeared in the chapter 11 cases.
8
           Upon information and belief, the Standard Terms and Conditions for Debtors RMC2, LLC (“RMC2”)
and Republic Metals Refining Corporation (“RMRC”) are substantially identical to RMC’s Standard Terms.
9
           The Debtors have produced (or will timely produce) copies of the Standard Terms executed by each
Customer in accordance with Section 3(a) of the Procedures Order.


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     E. Identifiable Customer Materials as of the Petition Date

        32.      According to the Debtors, the only identifiable materials subject to Customer

claims located at the Debtors’ refinery as of the Petition Date included approximately $8.2

million of prepaid finished product10 and the following raw materials:

                     Customer                                             Estimated Value
Alamos Gold Inc.                                                             $1,805,080
Bay Area Metals                                                               $36,204
Los Filos/Leagold                                                            $1,757,586
Marigold Mining Company                                                       $312,788
Midwest Refineries                                                             $2,767
Pollock-Cameron Investments Corporation                                        $88,242
o/a Vancouver Gold Buyer
Pyropure, Inc. (Pyromet)                                                       $53,420
So Accurate                                                                     $31,851
Wharf Resources (U.S.A.), Inc.                                                 $298,090
TOTAL                                                                         $4,386,028

See Debtors’ Amended Motion to Sell Remaining Assets of the Estate Free and Clear of All

Liens, Claims, Rights, Title, Interests and Encumbrances Pursuant to 11 U.S.C. § 363 [Docket

No. 563] at ¶ 14.

        33.      Of this $4,386,028 in identifiable raw materials, approximately $4,173,544 is

related to carbon materials and thus excluded from the Procedures Order.11 See Procedures

Order at p. 2. Thus, only approximately $212,484 of raw materials subject to Customer

Statements was identifiable as of the Petition Date. All other raw materials allegedly delivered

by Customers had already entered or completed the refining process and consisted of

commingled, unidentifiable work-in-process inventory or finished product or was previously

sold by the Debtors to Customers or other third parties or monetized on physical commodities

10
            See Exhibit B and Exhibit C to the Debtors’ Motion To Sell Property of the Estate Free and Clear of all
Liens, Claims, and Encumbrances Pursuant to 11 U.S.C. §363 (the “Prepaid Sale Motion”) [Docket No. 219].
11
           The Senior Lenders and the Debtors have reached settlement agreements with all of the Debtors’ carbon
customers. See Docket Nos. 576 (Alamos Gold Inc.), 574 (Los Filos/Leagold), 599 (Marigold Mining Company)
and 632 (Wharf Resources (U.S.A.), Inc.).


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markets (such as the London Bullion Market, Chicago Mercantile Exchange or Shanghai Gold

Exchange).

        34.      Moreover, ICBCS sent a notice to RMC suspending RMC’s access to and use of

the London Clearing Account on October 18, 2018. RMC’s access to the London Clearing

Account was suspended only after all trades with Customers were cleared, leaving a zero balance

and no remaining Loco London metal credits in the account. Accordingly, to the extent any raw

materials are traceable to the London Clearing Account, the proceeds associated therewith were

paid to other Customers and are not traceable to inventory or cash held by the Debtors as of the

Petition Date.

                                      CUSTOMER STATEMENTS

        35.      A summary of the 50 Customer Statements filed pursuant to the Procedures Order

is attached hereto as Schedule A.

        36.      The Customer Statements can generally be categorized into six “buckets”:

(1) 20 bailment claims based on RMC’s Standard Terms; (2) 8 bailment claims based on

agreements with RMC other than RMC’s Standard Terms; (3) 6 bailment claims based on

agreements with Debtors other than RMC; (4) two claims based on unsecured lease agreements

with RMC; (5) 13 claims to finished goods based on alleged prepayments to RMC; and (6) one

claim based on a consignment agreement with RMC.12

        37.      As detailed below, 100% of the Assets claimed by the Customers are subject to

the Senior Lenders’ valid, perfected first-priority security interests.



12
             This Response does not address non-ownership claims asserted by the Customers in their Customer
Statement, including, without limitation, Section 503(b)(9) administrative expense claims, reclamation claims,
claims for interest, fees and expenses and tort claims and other equitable claims. This Response also does not
address claims relating to carbon materials, which are expressly carved out of the Procedures Order, or the Customer
Statement filed by Action Forklift, Inc. [Docket No. 529], which relates to forklifts purportedly leased to the
Debtors. See Procedures Order at p. 2.

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                                           GOVERNING LAW

        38.      Two sets of applicable law govern the Ownership Dispute. First, the validity,

perfection, priority and enforceability of the Senior Lenders’ liens and claims are governed by

New York law. Second, the Customers’ purported ownership claims are governed by Florida

law.

     A. New York Law

        39.      The Senior Lenders’ Collateral Documents (as defined below) and the

Intercreditor Agreement all provide that they shall be construed in accordance with and governed

by the laws of the State of New York. Accordingly, the Senior Lenders submit that the validity,

perfection, priority and enforceability of the Senior Lenders’ liens and security interests are

governed by New York law. The Customers do not dispute this.

     B. Florida Law

        40.      The property of the estate dispute between the Customers, on the one hand, and

the Debtors and the Senior Lenders, on the other hand, is governed by Florida law. As detailed

below, the Customers assert a variety of ownership claims, primarily based on either common

law or the Uniform Commercial Code (“UCC”). The Standard Terms contain multiple

references to Florida and Florida law.13 Meanwhile, certain Refining Agreements (as defined

below) contain Florida, New York, Ontario, British Columbia or Mexican choice of law

provisions, while others are entirely silent on choice of law. As explained below, any prepetition

contractual choice of law provisions are irrelevant and Florida law controls.

        41.      “Whether the debtor has a legal or equitable interest in property such that it

becomes ‘property of the estate’ under section 541 is determined by applicable state law.”


13
            RMC’s Standard Terms specify Florida as the venue for arbitration proceedings and any related actions
and include numerous references to the Florida UCC.

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Kraken Inv. Ltd. v. Jacobs (In re Salander-O’Reilly Galleries, LLC), 475 B.R. 9, 21−22

(S.D.N.Y. 2012) (citations omitted). Bankruptcy courts apply the rule observed by federal

district courts hearing diversity cases and use the choice of law rules of the state in which they

sit. Hong Kong and Shanghai Banking Corp., Ltd. v. HFH USA Corp., 805 F. Supp. 133, 140

(W.D.N.Y. 1992) (citing Klaxon Co. v. Stentor Electric Mfg. Co., 313 U.S. 487, 61 S. Ct. 1020,

85 L. Ed. 1477 (1941)).

        42.     New York applies an “interest analysis” to choice of law problems. Id. at 140,

n.3; Salander-O’Reilly, 475 B.R. at 31−32. Here, the Debtors are primarily Florida entities, the

Debtors’ refinery and operations were located in Florida, the Assets subject to the Customers’

alleged ownership interests were located in Florida, the Senior Lenders’ filed UCC-1 financing

statements against the Debtors in Florida and the Standard Terms contain multiple references to

Florida and Florida law. Accordingly, Florida law should govern the Ownership Dispute under

the “interest analysis” test.

        43.     Under Florida law, the UCC in turn also dictates that Florida law should apply.

Under UCC § 1-301(a), choice of law provisions should be upheld where the chosen law and

forum bear a reasonable relation to the transaction. See Fla. Stat. § 671.105(1). However, UCC

§ 1-301(c) contains a specific carve out to this general rule where UCC §§ 9-301 through 9-307

(governing perfection, the effect of perfection or non-perfection and the priority of security

interests) specify the applicable law. Id. at § 671.105(2). UCC § 9-301 states that perfection and

priority issues are governed by the law of the state where the debtor or collateral is located. Id.

at § 679.3011(1)−(2). As set forth below, the Customers are all parties to commercial

transactions with the Debtors for the purchase and sale of goods and each Customer failed to

perfect a security interest in the Assets (whether purchase-money, under reservation of title or



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contractual). As a result, application of UCC § 1-301(c) also dictates that Florida law applies to

the Ownership Dispute. See also Salander-O’Reilly, 475 B.R. at 31−33; HSBC, 805 F. Supp. at

140−41.

         44.      Lastly, it is well established that prepetition contractual choice of law provisions

are not binding on third parties, such as the bankruptcy trustee, or creditors, like the Senior

Lenders. Salander-O’Reilly, 475 B.R. at 32; In re Eagle Enters., Inc., 223 B.R. 290, 293−94

(Bankr. E.D. Pa. 1998); HSBC, 805 F. Supp. at 139−40.

                                      SUMMARY OF LEGAL BASIS
                                       (SENIOR LENDERS’ LIENS)

     A. The Senior Lenders Have Valid and Perfected First Priority Liens on the Debtors’
        Inventory and its Proceeds

         45.      Under UCC § 9-203, a security interest is enforceable with respect to collateral if

“(1) value has been given; (2) the debtor has rights in the collateral or the power to transfer rights

in the collateral to a secured party; and (3) . . . (A) the debtor has authenticated a security

agreement that provides a description of the collateral . . . .” NY UCC § 9-203(b).14 Each of

these requirements has been fulfilled here. Thus, the Senior Lenders hold valid security interests

that attached to the Assets. The Senior Lenders duly perfected their security interests by filling

UCC-1 financing statements against the Debtors.

                  (1) Value Has Been Given

         46.      “[A] person gives value for rights if the person acquires them: (1) in return for a

binding commitment to extend credit or for the extension of immediately available credit . . . or

(4) in return for any consideration sufficient to support a simple contract.” NY UCC § 1-204.



14
             As explained above, the validity, perfection, priority and enforceability of the Senior Lenders’ liens and
security interests are governed by New York law. Accordingly, all references in this section are to the NY UCC.
However, the provisions of the Florida UCC are substantively identical.

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        47.     In exchange for various covenants and promises of the Debtors and the grant to

the Senior Lenders of a security interest in collateral, the Senior Lenders provided the Debtors

with nearly $200 million in credit. The Senior Lenders’ extensions of credit to the Debtors

satisfy the value prerequisite to the enforceability of the Senior Lenders’ security interests. No

party can reasonably dispute this.

                (2) The Debtors Had the Power to Transfer Rights in the Collateral to the
                    Senior Lenders

        48.     The phrase “rights in the collateral” is not defined in the UCC. Certain

Customers assert that they and not the Debtors owned the Assets because they retained “title” to

the Assets and therefore the Debtors could not properly grant a security interest therein to the

Senior Lenders. This is a complete misstatement of the law. As an initial matter, under UCC

§ 2-401(1) any attempted reservation of title by a seller in goods delivered to a buyer gives the

seller at most a security interest in the goods. See Fla. Stat. § 672.401(1) (“Any retention or

reservation by the seller of the title (property) in goods shipped or delivered to the buyer is

limited in effect to a reservation of a security interest.”); see also In re J. Adrian Sons, Inc., 205

B.R. 24, 26 (Bankr. W.D.N.Y. 1997) (“§ 2-401(1) negates any attempt to forestall passage of

title beyond the moment of final delivery; contract language purporting to do so merely results in

a security interest being retained”) (citations omitted); Morton Booth Co. v. Tiara Furniture, Inc.,

564 P.2d 210, 212 (Okla. 1977) (“Title to goods is of little relative consequence under the

Uniform Commercial Code (Code). A deliberate effort was made by the drafters of the Code to

avoid defining the rights of parties to goods in terms of who has title . . .”).

        49.     There is no requirement that the debtor have “title” or “full ownership rights” in

order to grant a valid security interest in property. Litwiller Machine & Mfg., Inc. v. NBD

Alpena Bank, 184 Mich. App. 369, 374 (1990) (citations omitted). To the contrary, “where a


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debtor gains possession of collateral pursuant to an agreement endowing him with any interest

other than naked possession, the debtor has acquired such rights as would allow the security

interest to attach.” GMAC Bus. Credit, 100 Fed. Appx. 404, 408 (6th Cir. 2004); (quoting

Morton Booth at 214) (emphasis added).

       50.     Here, the Senior Lenders submit that the Debtors obtained full ownership and title

to the Assets upon their shipment by the Customers. Fla. Stat. § 672.401(2). However, at a

minimum, it is indisputable that the Debtors obtained an interest in the Assets greater than

“naked possession” upon their delivery to the Debtors’ refinery. Id. at § 672.401(1). The

Debtors received raw materials from Customers and had the right to melt and refine the materials

into finished products upon receipt. With the Customers’ knowledge and consent (both actual

and constructive), the Debtors physically changed the character and form of the delivered raw

materials through the refining process and subsequently sold the finished products to customers,

on physical commodities markets or to other third parties. Courts considering this issue in the

manufacturing and refining contexts have universally held that such actions constitute more than

“naked possession.” GMAC at 408−09; Kinetics Tech. Int’l Corp. v. Fourth Nat’l Bank of

Tulsa, 705 F.2d 396, 398−400 (10th Cir. 1983); Litwiller at 374; Morton Booth at 214.

       51.     Given these powers to melt, refine and sell the raw materials delivered by the

Customers, the Debtors clearly had sufficient rights in the Assets under UCC § 9-203(2) to grant

security interests in them to the Senior Lenders. See Kinetics at 399 (“Otherwise, if a debtor

received collateral from a third party under an agreement giving the debtor authority to exercise

any outward indicia or manifestations of ownership or control, a would-be creditor could easily

be misled into making a loan under an ineffective security agreement.”).




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                 (3) The Debtors Authenticated a Security Agreement That Provides a
                     Description of the Collateral

        52.      “Authenticate” means “to sign.” NY UCC § 9-102(a)(7)(A). The Debtors signed

certain collateral and security documents (collectively, the “Collateral Documents”) securing

their obligations under the Credit and Lease Agreements, fulfilling the authentication

requirement for granting an enforceable security interest. A list of the Collateral Documents is

attached hereto as Schedule B.15

        53.      The collateral described under the Collateral Documents (collectively, the

“Collateral”) includes all personal property of each Debtor grantor, including, without limitation,

“inventory” and “proceeds,” as such terms are defined in the UCC. The UCC defines

“inventory,” in relevant part, as goods which are “held by a person for sale” or “consist of raw

materials, work in process, or material used or consumed in a business.” NY UCC § 9-

102(a)(48). The UCC defines “proceeds,” in relevant part, to include “whatever is acquired upon

the sale . . . or other disposition of collateral.” NY UCC § 9-102(a)(64).

        54.      Moreover, Section 6(a) of the Intercreditor Agreement, provides, in pertinent part,

that “all [Collateral Documents] shall secure all Obligations of [RMC] to all [Senior Lenders], as

if such [Collateral Documents] specifically described the Obligations and specifically granted a

lien or security interest on or in the property covered thereby to secure same.” Intercreditor

Agreement at § 6(a). RMC signed the Intercreditor Agreement specifically acknowledging and

agreeing to its terms for all purposes.

        55.      Accordingly, under the UCC, the Collateral Documents and the Intercreditor

Agreement, the Senior Lenders have valid security interests in the Assets and their proceeds.

15
             The Collateral Documents are voluminous, contain confidential and proprietary information and are
subject to confidentiality provisions and, accordingly, have not been attached to this Response. The Senior Lenders
have produced (or will timely produce) copies of the Collateral Documents to the Customers in accordance with
Section 3(a) of the Procedures Order.

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                 (4) The Senior Lenders’ Security Interests Are Properly Perfected

        56.      Pursuant to Section 9-310(a) of the UCC, the Senior Lenders properly perfected

their security interests in the Collateral by filing UCC-1 financing statements and have duly filed

all required continuations statements. See NY UCC § 9-310(a) (providing that a “financing

statement must be filed to perfect all security interests”). A list of the filed UCC-1 financing

statements is attached hereto as Schedule C.16 Accordingly, the Senior Lenders have properly

perfected security interests in the Assets and their proceeds.

     B. The Customers Elected Not to Perfect Security Interests in Goods Sold to the
        Debtors

        57.      UCC-1 searches reflect that not a single Customer filed a UCC-1 financing

statement against the Debtors, and none claims otherwise.

        58.      However, the Customers nevertheless could have taken security interests in the

Assets: First, under UCC § 9-103, each Customer could have taken a purchase-money security

interest (“PMSI”) in goods delivered by it to the Debtors. See Fla. Stat. § 679.1031. Second,

certain Customers’ agreements with the Debtors contain reservations of title. As noted above, a

reservation of title by a seller of goods delivered to a buyer is deemed to be a security interest

under UCC § 2-401(1). Id. at § 672.401(1). Lastly, certain Customers’ agreements included

security grants by the Debtors in favor of the Customers to secure the Debtors’ obligations

thereunder.

        59.      Under the general “first in time, first in right” rule of priority under UCC § 9-322,

the Senior Lenders have a security interest in the Assets senior to any later perfected security

interest. Id. at § 679.322. While UCC § 9-324(b) provides the means for the holder of a PMSI


16
            The Senior Lenders have produced (or will timely produce) copies of the UCC-1 financing statements
to the Customers in accordance with Section 3(a) of the Procedures Order.


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to achieve an exception to the “first in time, first in right” rule, qualifying for this exception

requires, among other things, that the PMSI holder perfect its security interest by filing a UCC-1

financing statement prior to its delivery of goods. Id. at § 679.324(2). Absent compliance with

UCC § 9-324(b), the rights of the Customers as secured parties with a PMSI are subject to the

“first in time, first in right” rule of priority. Id. As noted above, no Customer filed a UCC-1

financing statement. Accordingly, no Customer has a valid perfected security interest (whether

PMSI or otherwise) in the Assets.

         60.      Each Customer could have perfected a security interest to protect its respective

exposure. None did. See Kinetics at 399−400 (noting a supplier of goods can “easily protect

itself from after-acquired property creditors of its contractor by filing an Article Nine purchase

money security interest in the goods supplied by it to the contractor, as well as those purchased

or otherwise identified in the contract by the contractor.”). Accordingly, the Senior Lenders

have perfected security interests in the Assets and their proceeds senior to any interest of the

Customers. While the Senior Lenders recognize that the Customers may have claims against the

Debtors’ estates (including, without limitation, reclamation claims and 503(b)(9) claims), any

such claims would be unsecured and subordinate in all respects to the Senior Lenders’ secured

claims.17 The Ownership Dispute should end here.

     C. The Senior Lenders Are Good Faith Purchasers

         61.      Although the UCC priority analysis is determinative, the Senior Lenders

additionally qualify as good faith purchasers under UCC § 2-403(1). Fla. Stat. § 672.403(1).



17
              See, e.g., In re Dairy Mart Convenience Stores, Inc., 302 B.R. 128, 134−36 (Bankr. S.D.N.Y. 2003)
(holding that reclamation claims were without value in light of a secured lender’s prior floating lien on the debtor’s
inventory); see also 11 U.S.C. § 546(c) (subjecting a seller’s right to reclaim goods to “the prior rights of a holder of
a security interest in such goods or the proceeds thereof . . .”); 11 U.S.C. § 503(b)(9) (providing sellers with an
unsecured administrative claim for the value of any goods sold in the ordinary course of business and received by
the debtor within 20 days of the bankruptcy filing).

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§ 2-403(1) provides that a buyer of goods who holds only voidable title has the power to transfer

good title to a “good faith purchaser.” Id. A secured creditor may be a “good faith purchaser”

within the meaning of subsection (1) and may thus take good title to property to which its

security interest attaches. See, e.g., WESGO Division of GTE Products Corp. v. Harrison (In re

Sitkin Smelting & Refining, Inc.), 648 F.2d 252 (5th Cir. 1981) (holding that, as a good faith

purchaser under UCC § 2-403(1), a secured creditor was entitled to prevail against a supplier to

the debtor where the refining contract at issue provided for a sale of goods).

                             SUMMARY OF LEGAL BASIS
                        (PROPERTY OF THE DEBTORS’ ESTATES)

       62.     As described above, no Customer filed a UCC-1 financing statement.

Consequently, the Customers’ sole recourse is to argue that the Debtors had only naked

possession of the Assets—whether raw materials delivered, sold or leased to the Debtors, or

finished product purchased from the Debtors—and that, accordingly, the Customers are entitled

to the extraordinary remedy of a constructive trust over estate property. These arguments fail as

a matter of law. Each “bucket” of claims is addressed in turn below:

                                        Bailment Claims

       63.     Several Customers attempt to establish rights to the Assets by asserting bailment

claims. As detailed below, the Customers and the Debtors were parties to commercial

transactions for the purchase and sale of goods. The applicable contracts—whether the Debtors’

Standard Terms or other negotiated agreements—are unambiguous on this point. In an attempt

to avoid this fatal flaw, the Customers cite inapposite case law to try to establish common law

bailment relationships outside the scope of the four corners of their contracts. The cases the

Customers cite are contrary to well-established law distinguishing bailments from sales and are

inapplicable in the toll metal refining context. Lastly, even if a Customer could successfully


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establish a bailment relationship (which none can), the Customers ignore the critical fact that, as

they knew or should have known, all raw materials delivered to the Debtors were commingled in

the ordinary course of the Debtors’ business and became unidentifiable upon entering the

refining process. As a result, no Customer can trace its purported “owned” materials and,

accordingly, none is entitled to a constructive trust over property held by the estates.

     A. Republic’s Standard Terms and Conditions Clearly Evidence Purchase/Sale
        Transactions

        64.      The Standard Terms broadly apply to all transactions between the Debtors and the

Customers. Specifically, the recitals to the Standard Terms provide:

        Unless otherwise stipulated, these Standard Terms and General Operating
        Conditions “Standard Terms” are applicable to transactions and/or contracts
        between Republic Metals Corporation, “RMC”, and Customer. “Customer” is
        defined as any business, corporation, company, person, entity, or anyone else
        transacting business with RMC in any manner whatsoever. Any contract or
        agreement entered into between Customer and RMC will operate as if the terms
        represented in these Standard Terms were made expressly a part thereof. RMC’s
        Standard Terms is the governing document with respect to any and all business
        dealings between RMC and Customer and shall override any and all provisions,
        terms, and stipulations in Customer purchase orders, sales orders and/or any other
        Customer documents. RMC’s failure to object to any terms, provisions, and/or
        stipulations represented in any Customer documents that are at variance with
        RMC’s Standard Terms shall not be deemed a waiver of the terms and conditions
        contained herein.

Standard Terms at p. 1.

        65.      As discussed above, each Customer executed a copy of the Standard Terms.

25 Customers acknowledge that they do not have additional contracts with the Debtors and are

subject only to the Standard Terms.18 A review of the Standard Terms unequivocally establishes




18
            This group includes 7645635 Canada Inc. o/a Ottowa Gold Buyer, Brilliant Jewelers/MJJ Inc. (Anjay
Corp.), Eddie & Co. of NY, Inc. d/b/a Diamond Kingdom, Midwest Refineries, LLC and Pollock‐Cameron
Investments Corporation o/a Vancouver Gold Buyer, each of which asserts it did business with either RMC2 or
RMRC.

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that such Customers were parties to commercial transactions with the Debtors for the purchase

and sale of goods. Specifically:

      Warranty of Title: “Customer warrants to RMC that it has good and marketable title to
       said property, full authority to sell and transfer said property, and that said property is
       sold free of all liens, encumbrances, liabilities, and adverse claims of every nature and
       description whatsoever.” Standard Terms at p.1 (emphasis added).

      Indemnity: “Customer further warrants to RMC that it will fully, defend, protect,
       indemnify, and hold harmless RMC and its lawful successors and assigns from any
       adverse claim thereto.” Id.

      Risk of Loss: “Risk of loss of material will pass from Customer to RMC upon delivery to
       and acceptance at RMC’s refinery, unless otherwise agreed.” Id.

      Refining Charges: “All RMC [refining] charges are payable upon the rendering of an
       invoice. [. . .] Until such time, RMC shall be deemed to retain title to and a security
       interest in all material covered by any RMC invoice to secure the payment of the same.”
       Id. at 2−3 (emphasis added).

      RMC Purchases:

             o “Customer warrants that any purchase or sale contract has been effectuated by
               Customer for the sole purpose of securing pricing for the ultimate sale or purchase
               of precious metals and has not been made for any speculative reason whatsoever.”
               Id. at 4 (emphasis added).

             o “By agreeing to the terms and conditions contained herein, and receiving an e-
               mail confirming the details of Customer’s trade, Customer agrees that he has
               entered into a written, legally binding contract for the sale/purchase of precious
               metals contained within the confirmation e-mail. Customer further warrants
               that said contract is in compliance with the Florida Uniform Commercial Code
               § 672.201, § 668.003 (4) and § 668.004 and agrees to waive any defenses under
               Florida Uniform Commercial Code § 672.201.” Id. (emphasis added).

      Parties: “Both Parties agree that they are merchants as defined in the Uniform
       Commercial Code § 2-104(1).” Id. (emphasis added).

       66.      The Standard Terms are clear and unambiguous. Accordingly, each Customer

should be estopped from introducing extrinsic evidence in an attempt to establish common law

bailments. See, e.g., King v. Bray, 867 So. 2d 1224, 1226 (Fla. 5th DCA 2004) (“[T]he party




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seeking to introduce parol evidence must establish that the document is ambiguous and in need

of interpretation.”).

     B. Republic’s Refining Agreements Clearly Evidence Purchase/Sale Transactions

        67.      9 Customers assert bailment claims based on agreements with the Debtors other

than RMC’s Standard Terms (each, a “Refining Agreement”).19 With two exceptions,20 each

Refining Agreement is based on RMC’s standard template form. Like the Standard Terms, the

Refining Agreements unequivocally establish that these Customers were parties to purchase and

sale transactions with the Debtors.

        68.      Specifically, (a) no Refining Agreement refers to a bailment or entrustment;

(b) the Refining Agreements expressly provide that they are agreements for “refining and

forward/spot sales of precious metal” or “refining and purchase of doré”, refer to the Debtors as

“the Buyer” and the Customer as “the Seller” or otherwise contain terms indicative of a purchase

and sale transaction; (c) the Refining Agreements require the Debtors to purchase raw materials,

with payment in the form of cash or metal credit with a purchase price established by an agreed-

upon formula or in refined metal of like kind and quality less, in each case, refining and/or

retention charges; (d) the Refining Agreements generally provide that risk of loss transfers to the

Debtors upon delivery at the Debtors’ facility or upon shipment from the Customer’s mine;

(e) the Refining Agreements generally do not provide that title to metal remains with the

Customer nor do they grant Customers the right to demand the return of metal after weight is


19
            This group includes Fundación Rafael Dondé, I.A.P (“FRD”), an entity that asserts it did business with
Republic Trans Mexico Metals, S.R.L.
20
             Tiffany and Company (Laurelton Sourcing, LLC) (“Tiffany”) and FRD each cite agreements that
appear to be based on non-standard forms. See Docket Nos. 450 and 454. However, Tiffany executed a copy of the
Standard Terms subsequent to the date of its Refining Agreement. Moreover, the Senior Lenders understand that
raw materials delivered by both entities were commingled in the ordinary course of business and, accordingly, the
Senior Lenders assert that, like the other Customers, neither entity can establish a valid bailment or trace its
purported property for the reasons set forth below.

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confirmed; (f) the Refining Agreements do not provide for, nor did the parties contemplate, that

metal would remain separate and identifiable after commencement of the refining process nor

that they would not be commingled with other metals; and (g) no Refining Agreement provides

that the applicable Customer will receive the refined metal actually recovered from the identical

raw materials delivered by it to the Debtors.

        69.      As with the Standard Terms, the Refining Agreements are clear and

unambiguous. Accordingly, regardless of whether a Customer’s Refining Agreement is deemed

to supersede the Standard Terms,21 the Customers’ common law bailment claims must be denied.

     C. The Proper Test For Determining Sale or Bailment is Whether the Identical Article
        Delivered is To Be Returned

        70.      Under Florida common law, a bailment is defined as the “delivery of personalty

for some particular purpose, or on mere deposit, upon a contract, express or implied, that after

the purpose has been fulfilled it shall be redelivered to the person who delivered it, or otherwise

dealt with according to his directions, or kept until he reclaims it, as the case may be.” Monroe

Sys. for Bus., Inc. v. Intertrans Corp., 650 So. 2d 72, 75 (Fla. 3d DCA 1994) (quoting Dunham v.

State, 140 Fla. 754, 192 So. 324, 326 (Fla. 1939)).

        71.      As to whether a transaction constitutes a bailment or a sale, the United States

Supreme Court has stated:

        The recognized distinction between bailment and sale is that, when the identical
        article is to be returned in the same or in some altered form, the contract is one of
        bailment, and the title to the property is not changed. On the other hand, when
        there is no obligation to return the specific article, and the receiver is at liberty to
        return another thing of value, he becomes a debtor to make the return, and the title
        to the property is changed. The transaction is a sale.

Sturm v. Boker, 150 U.S. 312, 14 S. Ct. 99, 37 L. Ed. 1093 (1893).

21
             The Senior Lenders reserve all rights on this issue. It appears that many of the Customers executed
copies of the Standard Terms either contemporaneously with or subsequent to the date of their respective Refining
Agreements.

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       72.     This rule applies even where the thing delivered is changed or transformed in

some manner:

       Where logs are delivered to be sawed into boards, or leather to be made into
       shoes, rags into paper, olives into oil, grapes into wine, wheat into flour, if the
       product of the identical articles delivered is to be returned to the original owner in
       a new form, it is said to be a bailment, and the title never vests in the
       manufacturer. If, on the other hand, the manufacturer is not bound to return the
       same wheat or flour or paper, but may deliver any other of equal value, it is said
       to be sale or a loan, and the title to the thing delivered vests in the manufacturer.
       We understand this to be a correct exposition of the law.

Powder Company v. Burkhardt, 97 U.S. 110, 116, 24 L. Ed. 973 (1877).

       73.     Some courts have called this type of bailment “‘a bailment . . . locatio operis

faciendi [i.e.] a bailment where work and labor . . . are to be performed upon the thing delivered

to the bailee.’” B.A. Ballou and Company, Inc. v. Citytrust, 218 Conn. 749, 591 A.2d 126, 130

(Conn. 1991) (quoting Douglass v. Hart, 103 Conn. 685, 131 A. 401, 402 (Conn. 1925)). A

bailment of this character is formed when the parties “enter into a contract, express or implied, or

both, by which the bailee engages to perform the agreed services and return the thing bailed in its

altered form . . . and, the bailor in return for the services of the bailee agrees to pay him the

agreed upon compensation.” Id.

       74.     Accordingly, in distinguishing bailments from sales, the test of a bailment is that

the identical thing is to be returned in the same or some altered form; if another thing of equal

value is to be returned, the transaction is a sale. This test has been consistently applied by courts

considering the sale versus bailment question, particularly in the toll metal refining context. See,

e.g., Sitkin v. R-One Alloys, Inc., 2006 R.I. Super. LEXIS 25, *8−11 (R.I. Super. Ct. 2006);

Welding Metals v. Foothill Capital Corp., 1997 U.S. Dist. LEXIS 7672, *25 (D. Conn. April 14,

1997); Ballou at 755−56; WESGO at 254; General Motors Corp. v. Bristol Indus. Corp. (In re

Bristol Indus. Corp.), 1981 Bankr. LEXIS 5204, *21−24 (Bankr. D. Conn. Dec. 14, 1981), rev’d


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on other grounds, 690 F.2d 26 (2d Cir. 1982); Chisholm v. Eagle Ore Sampling Co., 144 F. 670,

671−72 (8th Cir. 1906); see also In re Jeff Benfield Nursery, Inc., 565 B.R. 603, 611, n.4 (Bankr.

W.D.N.C. Jan. 24, 2017); Praxis Energy Agents v. Allfirst Bank (In re Millenium Seacarriers),

2003 U.S. Dist. LEXIS 22346, at *13−*14 (S.D.N.Y. Dec. 10, 2003).

       75.     As explained above, raw materials delivered by Customers to the Debtors were

commingled and became unidentifiable after entering the refining process. The Standard Terms

and Refining Agreements made clear that precious metals are fungible, and that returnable metal

did not pertain to specific, segregated or identifiable metal. As mentioned above, no Customer

elected to pay for the Peace of Mined program. Rather, the Debtors refined raw materials

received from the Customers and paid the Customers with cash, Loco London metal credit or, in

rare instances, refined metal of like kind and quality. To the extent any customer received back

refined metal that was the product of raw material originally delivered by it to the Debtors, it

would be “solely by chance.” Thus, the identical thing sent by the Customers to the Debtors was

not returned to the Customers and the arrangements between the Customers and the Debtors

could not constitute bailments as a matter of law. See Welding Metals at * 25 (“because there is

no evidence that the metal returned to [the customer] was the product of the metal originally

delivered, except ‘solely by chance,’ the arrangement between [the debtor and the customer]

could not constitute a bailment”).

   D. The Cases Cited by the Customers are Inapposite

       76.     In support of their bailment arguments, the Customers ignore the applicable

governing precedent and cite a number of factually inapposite cases. A summary of the primary

cases relied on by the Customers and an explanation of why they fail to support the Customers’

position follows:



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      Public Service Electric & Gas Co. v. Federal Power Commission, 371 F.2d 1 (3d Cir.
       1967): In Public Service, a company arranged to have natural gas transported through a
       pipeline. The court found that a bailment existed even though the company was not
       entitled to have the identical gas delivered back to it. Id. at 6−7. Because the gas was
       merely transported and not altered in any manner, that case is distinguishable from the
       type of bailment alleged here. As discussed above, where, as here, a bailed thing is
       altered, transformed or remanufactured and the bailee does not return the identical thing
       delivered, a bailment cannot exist. See R-One at *11, n. 6 (distinguishing Public
       Service); Ballou at 754, n. 3 (same). Accordingly, Public Service stands only for the
       limited proposition that commingling of unaltered fungible goods alone does not defeat
       an otherwise valid bailment.

      In re Enron Corp., 2003 Bankr. Lexis 2262 (Bankr. S.D.N.Y. 2003): In Enron, a
       company arranged to have natural gas stored in a pipeline. The court found that a
       bailment existed even though the natural gas was commingled. Like Public Service, the
       natural gas was merely stored and not altered in any manner. Enron relies principally on
       Public Service and stands for the same limited proposition.

      In re Medomak Canning Co., 25 U.C.C. Rep. Serv. 437 (Bankr. D. Me. 1977), aff’d, 588
       F.2d 818 (1st Cir. 1978): In Medomak, a supplier entered into a contract with the debtor
       for the processing of canned baked pork and beans. Under the contract, the supplier sent
       ingredients, packaging, and shipping supplies to the debtor and the debtor processed the
       pork and beans and canned and shipped them directly to the supplier’s customers. The
       ingredients supplied by the supplier were kept segregated and identifiable at all times and
       were never commingled with the debtor’s other inventory. Moreover, there was no
       purchase price mechanism in the contract. Accordingly, Medomak is distinguishable on
       its facts.

      Eastman Kodak Co. v. Harrison (In re Sitkin Smelting & Refining, Inc.), 639 F.2d 1213
       (5th Cir. 1981): In Kodak, the court found that a bailment existed where a supplier
       delivered film waste to the debtor for waste processing and to extract the silver. Unlike
       here, the film waste was labeled, segregated and identified at every stage of the process
       and never commingled with the debtor’s other inventory. Moreover, in WESGO, a case
       involving the same debtor as Kodak and with the same judge writing the opinion, the
       same court distinguished the contract in Kodak as “somewhat unique” and held that
       another refining agreement entered into by the debtor for scrap metal was a sale contract
       rather than a bailment where the supplier’s metal was commingled and the debtor
       purchased the scrap metal, with payment in the form of a purchase price established by an
       agreed-upon formula or in refined metals of like kind and quality less a processing fee.
       As a result, WESGO, not Kodak, is clearly the more relevant precedent.

      General Motors Corporation v. Bristol, 690 F.2d 26 (2d Cir. 1982): In Bristol, the court,
       in a concurring opinion in dicta, found that a bailment existed when a supplier shipped
       scrap metal to the debtor for processing into alloy strips under a tolling arrangement. The
       concurrence, relying on Public Service, stated that “where commingling is required by
       the needs of the trade and is done with the consent of the parties a bailment is established
       if that is the intent of the parties.” Id. at 30−31 (emphasis added). The concurring

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       opinion has been subsequently criticized and distinguished for its reliance on Public
       Service. R-One at *11, n. 6 (“The precedent, however, to which the court in Bristol cites
       in support of this maxim, is misplaced.”); GMAC at 409 (“We respectfully disagree with
       the concurring judge in [Bristol]”); Ballou at 754, n. 3 (“[Public Service] stands only for
       the proposition that commingling alone does not defeat a bailment”). In any event, as
       discussed above, the Standard Terms and the Refining Agreements clearly establish
       purchase/sale transactions, not bailments.

   E. The Customers Cannot Trace Their Purported Property to Estate Property

       77.     Lastly, in the unlikely event that any Customer could establish a bailment claim,

with certain limited exceptions, its purported “owned” raw materials were not identifiable on the

Petition Date. Accordingly, the Customers’ sole recourse would be to seek a constructive trust

against inventory or proceeds currently held by the Debtors on the basis of conversion or other

equitable claims.

       78.     Constructive trusts are an extraordinary equitable remedy, to be used sparingly.

In re Miss. Valley Livestock, Inc., 745 F.3d 299, 305 (7th Cir. 2014) (citations omitted); see also

In re Omegas Group, Inc., 16 F.3d 1443, 1451 (6th Cir. 1994) (describing constructive trusts as

“fundamentally at odds with the general goals of the Bankruptcy Code”). Constructive trusts are

particularly disfavored in the bankruptcy context because they alter the distribution rules

provided under the Bankruptcy Code. See In re Dewey & Leboeuf LLP, 493 B.R. 421, 432

(Bankr. S.D.N.Y. 2013).

       79.     In any event, “[i]t is hornbook law before a constructive trust may be imposed, a

claimant to a wrongdoer’s property must trace his property into a product in the hands of the

wrongdoer.” In re Handy & Harman Ref. Group, Inc., 266 B.R. 24, 27 (Bankr. D. Conn. 2001).

Each Customer asserting the existence of a constructive trust bears the burden of proof that the

trust exists and that the property which is the subject of the trust can be traced. Id. at 29 (citing

In re Columbia Gas Systems, Inc., 997 F.2d 1039, 1063 (3d Cir. 1993), cert. denied, 510 U.S.

1110, 114 S. Ct. 1050, 127 L. Ed. 2d 372, 114 S. Ct. 1051 (1994); see also Miss. Valley at 307

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(“[t]here can be no constructive trust without tracing a claimant’s interest to specific property”)

(citations omitted).

       80.     Therefore, assuming, arguendo, that any Customer could (a) establish a valid

bailment relationship and (b) meet the high burden of establishing grounds warranting a

constructive trust, the Customer would still have to trace raw materials it delivered to the Debtors

to specific property in the estates’ possession on the Petition Date in order to impose a

constructive trust.

       81.     Aside from the few Customers with identifiable segregated materials as of the

Petition Date, no Customer will be able to trace raw materials delivered to the Debtors to specific

inventory or cash proceeds. As described above, all raw materials delivered to the Debtors were

rendered unidentifiable once commingled. As a result, at any given time specific raw materials

delivered to the Debtors could be (fully or partially): contained in commingled work-in-process

inventory at various stages in the refining process; contained in sweeps (i.e., dust, collected

waste and cleaning materials physically located in filters, screens, pipes or tubes in the refinery

or on the floor of the refinery); part of byproduct generated from refining and clean ups in in the

form of slag or hydroxides; incorporated in finished coins, bars or other custom minted products;

incorporated in finished generic RMC grain or bars held in general inventory; incorporated in

finished products sold to other Customers; incorporated in investment grade bars sold on the

London Bullion Market, Chicago Mercantile Exchange or Shanghai Gold Exchange or to third

parties for cash or metal credit; or monetized into proceeds in the form of cash or metal credit

that was subsequently used to pay Customers, vendors, employees and other third parties in the

ordinary course of business. The Debtors quite simply did not (and could not) track individual

raw materials or proceeds after the materials entered the refining process.



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       82.     Moreover, substantially all raw materials refined prior to October 18, 2018 (i.e.,

the date that RMC’s London Clearing Account was suspended) would have been monetized by

the Debtors into Loco London metal credit in the ordinary course of business and used by the

Debtors to settle transactions with Customers. Accordingly, any such raw materials cannot be

traced to inventory or cash proceeds generated by the Debtors after that date.

       83.     Based on the foregoing, no Customer is entitled to a constructive trust over the

Assets. As a result, the Customers are at best general unsecured creditors of the estates or, in

certain circumstances, 503(b)(9) claimants. See, e.g., In re Delta Smelting & Refining, Inc., 53

B.R. 877, 882 (Bankr. D. Alaska 1985) (holding that “[e]ven where property subject to a

bailment is sold, if the proceeds are not segregated or traceable, it is clear that the claimant is

relegated to the status of a general unsecured creditor” where silver bars delivered by a customer

to the debtor precious metals refiner were commingled and unidentifiable as of the petition date)

(citations omitted).

                               Unsecured Lease Agreement Claims

       84.     Two Customers claim to be parties to lease arrangements with the Debtors.

       85.     First, SCMI US INC. (“SCMI”) is party to a Master Agreement for Precious

Metals Transactions dated October 4, 2017 with RMC. See Customer Statement by SCMI US,

Inc., Exhibit A (the “SCMI Master Agreement”) [Docket No. 428]. Second, Mitchell Levine and

Erie Management Partners, LLC (together, “Levine”) assert that they are parties to lease

arrangements with RMC. There are no contracts documenting the Levine arrangements; rather,

Levine claims that it leased certain precious metals to the Debtors and that the Debtors paid

Levine a monthly “Lease Fee” calculated based on the value of the “leased” materials on a daily

basis. See Statement of Claims Ownership and Claims [Docket No. 468] at p. 3−4.



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         86.      At this time, the Senior Lenders do not take a position as to whether these

purported “leases” were true leases or in fact disguised financing arrangements (or, in the case of

Levine, enforceable at all).22 See UCC § 1-203 (Fla. Stat. § 671.201). However, in either case,

SCMI and Levine failed to perfect security interests in precious metals delivered to the Debtors.

The SCMI Master Agreement contains an explicit security grant in favor of SCMI.23 Levine has

no contract, but could have taken a PMSI in metals “leased” to the Debtors. Neither filed a

UCC-1 financing statement. Further, even if either SCMI or Levine could establish a true lease,

each would face the same tracing issues outlined above.

                                      Prepaid Finished Product Claims

         87.      Prior to the Petition Date, certain Customers placed orders with and prepaid RMC

for certain materials such as minted products and grain (“Prepaid Product”). See Prepaid Sale

Motion at ¶ 7. The Prepaid Product included custom orders placed by Customers for specialized

minted products, as well as “off the shelf” inventory of stock items minted by RMC, including

include coins and gold pieces usually purchased for investment or resale purposes. Id.

         88.      As of the Petition Date, RMC had orders for $13,550,000 worth of Prepaid

Product. Id. at ¶ 8. Of that $13,550,000 in Prepaid Product, $3,200,0000 of customer orders

were packaged for shipment to the applicable Customer on the Petition Date. Id. Additionally,

22
            SCMI also takes the position that its lease arrangement created a bailment as well as a lease. See
Docket No. 428 at ¶¶ 11−12. To the extent that SCMI asserts bailment claims, the Senior Lenders incorporate the
arguments set forth in the “Bailment” section above. Moreover, as evidenced by the trade confirmation annexed to
SCMI’s Customer Statement, the Senior Lenders note that SCMI appears to have transferred Loco London metal
credit to RMC’s London Clearing Account in accordance with Section 5.1 of the SCMI Master Agreement; SCMI
never physically delivered precious metals to RMC. Id. at Exhibit B. Accordingly, it would appear to be impossible
for SCMI to establish a bailment under these circumstances.
23
              See SCMI Master Agreement at § 7.7 (“Without prejudice to any other provision of this Part 7, each
Party (“Party L”) grants the other Party (“'Party M”) a security interest over all Material that is or may come into
Party L’s possession (actual or constructive) but to which Party M retains title under this Agreement. Each Party
hereby grants the other irrevocable authority to act as its agent to file any financing statement or other registration or
notification document, or to take other such similar measure as is required by applicable law in any jurisdiction in
which such Material is or might be located, in order to perfect, or to put third parties on notice of, such security
interest, or to otherwise confer on Party M priority over Party L’s unsecured creditors in respect of such Material.”).


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as of the Petition Date, RMC had an additional $5,000,000 in Prepaid Product that, while

generally available for fulfilling Customer orders, remained in RMC’s general inventory. Id. at

¶ 9.

          89.   13 Customers filed Customer Statements asserting ownership interests in Prepaid

Product. In order to defeat the Senior Lenders’ preexisting liens on RMC’s inventory, each

Customer must prove either that (i) it obtained title to specific Prepaid Product under UCC § 2-

401 (Fla. Stat. § 672.401) or (ii) it has a right to recover specific Prepaid Product from RMC

under Article 2 of the UCC (Fla. Stat. ch. 672) as a “buyer in the ordinary course of business.”

For the reasons set forth below, no Customer has established (or can establish) either condition.

       A. No Customer Can Establish Legal Title to Prepaid Product

          90.   Here, no Customer asserts that it had a standalone contract with RMC. Rather, it

appears that all Prepaid Product orders were placed on invoices containing a reference to RMC’s

Standard Terms. As discussed above, the Standard Terms are governed by Florida law.

          91.   The passing of title in connection with a contract for the purchase and sale of

goods is governed by UCC § 2-401. Fla. Stat. § 672.401. UCC § 2-401 provides, in relevant

part:

                (1) Title to goods cannot pass under a contract for sale prior to their
                identification to the contract (s. 672.501), and unless otherwise explicitly
                agreed the buyer acquires by their identification a special property as
                limited by [Article 2 of the UCC]. Any retention or reservation by the
                seller of the title (property) in goods shipped or delivered to the buyer is
                limited in effect to a reservation of a security interest. Subject to these
                provisions and to the provisions of [Article 9 of the UCC], title to goods
                passes from the seller to the buyer in any manner and on any conditions
                explicitly agreed on by the parties.

                (2) Unless otherwise explicitly agreed title passes to the buyer at the time
                and place at which the seller completes his performance with reference
                to the physical delivery of the goods, despite any reservation of a security
                interest and even though a document of title is to be delivered at a
                different time or place . . . .

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Id. at § 672.401 (emphasis added).

         92.      Thus, unless otherwise specified in a contract, title to goods does not pass from a

seller to a buyer until the seller completes its performance of the physical delivery of the goods

to the buyer. Here, the Standard Terms do not contain explicit provisions regarding transfer of

title for Prepaid Product.24 Thus, the default rule under UCC § 2-401(2) applies and title did not

transfer until RMC physically shipped Prepaid Product to its customers. Id. at § 672.401(2).

Although certain Prepaid Product was packaged, none was shipped. Accordingly, no transfer of

title to any Customer occurred under UCC §2-401.

     B. Identification of Goods and Special Property

         93.      Although title to goods may not transfer until shipment, a buyer acquires a

“special property” interest and “an insurable interest in goods” upon the identification of goods

to a contract under UCC § 2-501. See Fla. Stat. § 672.501. Unless otherwise specified,

identification occurs (a) if the contract is for the sale of goods already existing and identified,

when the contract is made, and (b) if the contract is for the sale of future goods, when goods are

shipped, marked or otherwise designated by the seller as goods to which the contract refers. Id.

at § 672.501(1)(a)−(b)).

         94.      Here, RMC did not generally maintain sufficient Prepaid Product on hand to

fulfill Customer orders and only minted product after orders were placed and payment was




24
              Certain Customers point to the section of the Standard Terms titled “Charges” as evidence that the
parties agreed that title would transfer upon payment. As an initial matter, this is not a transfer of title provision for
goods purchased from the Debtors. By its terms, the section applies to preparation, treatment and refining charges
related to raw materials delivered to the Debtors for refining. Moreover, as discussed explained above, retention of
title provisions in contracts for the sale of goods are deemed security interests under UCC § 2-401. When read in
context, this provision is clearly intended as a security grant in favor of RMC (“RMC shall be deemed to retain title
to and a security interest in all material covered by any RMC invoice to secure the payment of the same.”). Standard
Terms, p. 3.


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received.25 Thus, RMC’s contracts for Prepaid Product are contracts for the sale of future goods.

As a result, the underlying Prepaid Product could not be identified to the applicable contracts

until the Prepaid Product was shipped, marked or otherwise designated by RMC as goods to

which the contracts refer. Id.

     C. No Customer Can Establish a Right to Recover as a Buyer in the Ordinary Course

        95.      Notwithstanding the Customers’ lack of legal title, certain Customers assert that

they qualify as “buyers in the ordinary course” (“BIOC”). Pursuant to UCC § 9-320, a BIOC

“takes free of a security interest created by the buyer’s seller, even if the security interest is

perfected and the buyer knows of its existence.” Fla. Stat. § 679.320(1).

        96.      Pursuant to UCC § 1-201, a BIOC is defined as “a person who, in ordinary

course, buys goods in good faith, without knowledge that the sale violates the rights of another

person in the goods, from a person . . . in the business of selling goods of that kind.” Id. at

§ 671.201(9)). However, “[o]nly a buyer who takes possession of the goods or has a right to

recover the goods from the seller under [Article 2 of the UCC] may be a buyer in [the] ordinary

course of business.” Id. (emphasis added). Every Customer omits this critical fact from its

Customer Statement.

        97.      Therefore, a Customer must establish either that (a) it has possession of the

Prepaid Product or (b) otherwise has a right to recover the Prepaid Product from RMC under

Article 2 of the UCC (i.e., Fla. Stat. ch. 672). No Customer can establish possession. As a

result, a Customer is entitled to BIOC status only if it could show a right to recover under

Article 2.



25
           Based on the Prepaid Sale Motion, it appears that the Debtors maintained minimal levels of generic
RMC product and excess custom product in its general inventory at any given time. See Prepaid Sale Motion,
Exhibit C.

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       98.     Under Article 2, a buyer has three possible theories under which it could establish

a right to recover: (a) the right to recover in certain insolvency situations under UCC § 2-502

(Fla. Stat. § 672.502), (b) the right to specific performance under UCC § 2-716(1) (Fla. Stat.

§ 672.716(1)) and (c) the right to replevin under UCC § 2-716(3) (Fla. Stat. § 672.716(3)).

Under each of these theories (other than specific performance), it is a prerequisite that goods

have been identified to the contract.

               (1) Buyer’s Right to Recover in Insolvency Situation

       99.     Fla. Stat. § 672.502(1) provides, in pertinent part:

               (1) Subject to subsections (2) and (3), and even though the goods have not
               been shipped, a buyer who has paid a part or all of the price of goods in
               which she or he has a special property under the provisions of the
               immediately preceding section may on making and keeping good a tender
               of any unpaid portion of their price recover them from the seller if: . . .
               (b) In all cases, the seller becomes insolvent within ten days after receipt
               of the first installment on their price.

Fla. Stat. § 672.502(1) (emphasis added).

       100.    Thus, if a Customer prepaid for goods that have been identified to a contract, it

has a right to recover the goods if it can establish that RMC became insolvent within ten days

after receipt of its first installment payment. As described above, RMC was insolvent for years

prior to the Petition Date. Accordingly, the 10-day insolvency requirement will be impossible to

prove for any Customer.

               (2) Buyer’s Right to Specific Performance or Replevin

       101.    Fla. Stat. § 672.716 provides, in pertinent part:

               (1) Specific performance may be decreed where the goods are unique or in
               other proper circumstances.

               ...

               (3) The buyer has a right of replevin for goods identified to the contract if
               after reasonable effort she or he is unable to effect cover for such goods or

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               the circumstances reasonably indicate that such effort will be unavailing or
               if the goods have been shipped under reservation and satisfaction of the
               security interest in them has been made or tendered.

Fla. Stat. § 672.716.

       102.    Thus, specific performance is only appropriate when the goods are “unique” or

“in other proper circumstances.” Here, the Prepaid Product is hardly unique. Gold and silver are

fungible assets and are available for purchase from a myriad of precious metals dealers, refiners

and traders and on various recognized markets throughout the world. The majority of the

Prepaid Product was generic RMC brand grain or bars. The remainder, even if customized in

some manner, could easily be re-melted and refashioned into generic product. This is not a case

involving unique works of art or antiques.

       103.    With respect to replevin, a Customer must establish that goods were identified

and that they unsuccessfully attempted to cover (or that doing so would be unavailing). Here,

only Prepaid Product that RMC actually packaged for shipment to the applicable Customers

could be considered identified for purposes of UCC § 2-501. See Prepaid Sale Motion,

Exhibit B (listing $3,200,0000 of total Prepaid Product). However, no Customer, including those

who can purportedly identify goods, has introduced any evidence of an attempt to cover.

                               Consignment Agreement Claims

       104.    A single Customer, USGB LLC d/b/a United States Gold Bureau (“USGB”), filed

a Customer Statement in connection with a certain Consignment Agreement dated May 12, 2017

with RMC (the “Consignment Agreement”). See Customer Statement of Claimed Ownership by

USGB LLC and Wholesale Coins Direct, LLC [Docket No. 521] at ¶ 1. Pursuant to the

Consignment Agreement, USGB asserts that RMC delivered precious metals to USGB

prepetition on a consignment basis. Id. at ¶ 3. USGB states that it is currently in possession of

$114,403.86 worth of consigned metals. Id. at ¶ 4. USGB does not contest that the consigned

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metals are property of the Debtors’ estates. Rather, USGB asserts that it is entitled to offset the

value of the consigned metals against certain amounts purportedly owed by RMC to USGB

under the Consignment Agreement via the doctrine of recoupment. Id. at ¶ 6. The Senior

Lenders lack sufficient information at this time to analyze the validity of USGB’s recoupment

claim. However, the Senior Lenders understand that the Debtors have made a turnover demand

on USGB for the consigned metals and dispute USGB’s right to recoupment.

                                 RESERVATION OF RIGHTS

       105.    Certain Customers use their Customer Statements as an opportunity to assert

groundless allegations against the Senior Lenders. See, e.g., Designation of and Supplement to

Statement of Claimed Ownership Interest and Claims by Pretium Exploration Inc.

[Docket No. 464] at ¶ 10(c) (asserting an equitable subordination claim against the Senior

Lenders).

       106.    The Procedures Order required that each Customer Statement include a

description of all of each Customer’s claims “against the Debtors.” Procedures Order at

¶ 2(c)(iii). Claims against the Senior Lenders are not contemplated by the Procedures Order or

relevant to the Ownership Dispute—a legal dispute over whether the Assets are property of the

estates. To the extent that any Customer attempts to use the Procedures Order as a venue to seek

or assert claims against the Senior Lenders, the Senior Lenders reserve the right to ask the Court

to remove the Customer from the purview of the Procedures Order.

       107.    Rather, it is for the Committee to investigate and assert any such claims within the

“challenge period” provided for in the cash collateral order. The Committee has not asserted any

claims against the Senior Lenders and, if it does, they will be asserted in an appropriate

adversary proceeding, not as part of the Ownership Dispute resolution process governed by the



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Procedures Order. The Senior Lenders have worked (and continue to work) consensually with

the Committee to proactively address all of their questions and concerns, including those relating

to the prepetition sales process and events leading up to the bankruptcy.

       108.    The Senior Lenders will not respond on the merits to each of the Customers’

frivolous allegations. Suffice to say, it is well established that subordination claims against non-

insider secured lenders are universally rejected where the lenders are simply exercising their

rights under their loan documents, including in the distressed workout and forbearance context.

See, e.g., In re Hercules Offshore, Inc., 565 B.R. 732, 762 (Bankr. D. Del. 2016) (“While the

Court acknowledges that the First Lien Lenders were strategic in their actions, lenders are free to

enforce contract rights and negotiate hard against borrowers at arms-length, particularly those

that are in distress, as here.”); Speth v. Whitham Farms Feedyard, L.P. (In re Sunbelt Grain

WKS, LLC), 406 B.R. 918, 934−35, n. 77 (Bankr. D. Kan. 2009), aff’d 427 B.R. 896 (D. Kan.

2010) (“Subordination claims against secured lenders . . . have generally been rejected when the

secured creditor is simply enforcing its rights, even though the exercise of those rights may be

detrimental to other creditors.”) (citing Hon. William L. Norton, Jr. and William L. Norton III, 3

NORTON BANKRUPTCY LAW & PRACTICE § 53:4 (3RD ED, Thomson/West 2008).

       109.    Any allegations of misconduct are baseless and misinformed and the Senior

Lenders reserve all rights and waive none with respect thereto.

       110.    The Senior Lenders further reserve the right to amend or otherwise supplement

this Response in any respect at any time.

                           [Remainder of page intentionally left blank.]




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                                          CONCLUSION

       WHEREFORE, for the reasons set forth herein, the Senior Lenders respectfully request

that the Court (i) find that the Assets are the property of the Debtors’ estates and, accordingly,

the Senior Lenders’ collateral and (ii) grant such other and further relief as is just and proper.


Dated: New York, New York                           Respectfully submitted,
       February 18, 2019

                                                    LUSKIN, STERN & EISLER LLP

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                                                    Richard Stern
                                                    Alex Talesnick
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                                                    E-Mail: talesnick@lsellp.com

                                                    Counsel for the Senior Lenders




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                                                  Schedule A

                                  Summary of Customer Statements26

     1. Bailment Claims Based on RMC’s Standard Terms.

Dkt No.                          Customer                                        Asserted Claim Amount
 478        Alex Morningstar Corp. d/b/a Morningstar’s                                 $253,202.30
 425        Bay Area Metals                                                            $200,948.03
 463        Brilliant Jewelers / MJJ Inc. (Anjay Corp.)                                $185,000.00
 441        Cyber-Fox Trading Inc.                                                     $415,391.00
 475        Deb Schott, Inc.                                                           $136,227.91
 396        Design Gold Group, Inc.                                                    $160,000.00
 474        FCP Diamonds, LLC                                                          $268,396.36
 444        GEIB Refining Corp.                                                       $5,627,185.30
 477        General Refining and Smelting Corporation                                 $1,164,893.00
 434        Intl. FCStone Ltd                                                          $141,642.60
 476        Mid-States Recycling, Inc.                                                 $963,070.05
 447        Minas de Oroco Resources, S.A. de C.V.                                     $804,224.00
 468        Mitchell Levine (Plat/Co.)                                                 $120,000.00
 445        Music City Group, LLC                                                       $46,072.00
 481        Noble Metal Services, Inc.                                                 $280,752.36
 479        PLLC, PPC, Inc. (PPS, Inc.) d/b/a Braswell &                                $33,258.00
            Sons
 411        Pyropure, Inc. d/b/a Pyromet                                               $1,838,212.0027
 456        So Accurate Group, Inc.                                                     $3,920,469.44
 452        Texas Ezpawn, L.P.                                                          $2,852,468.49
 466        The Gold Refinery, LLC / Norman Bean                                        $1,329,188.00
TOTAL                                                                                  $20,740,600.84




26
              This Schedule and the information contained herein is provided for summary purposes only. In
particular, the amount of each Customer’s claim should be based on the spot price of the applicable precious metals
on the Petition Date. However, certain Customers used the spot price on the date of their Customer Statement.
Accordingly, certain of the claim amounts are inflated. The Senior Lenders reserve all right with respect thereto.
27
           The Senior Lenders and the Debtors have reached a settlement agreement with Pyromet that would,
among other things, reduce the amount of Pyromet’s ownership claim to $1,381,660.35. See Docket No. 599.
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   2. Bailment Claims Based on RMC Refining Agreements.

 Dkt No.                     Customer                        Asserted Claim Amount
  433      Alamos Gold Inc.                                        $87,078.33
           (Minas de Oro Nacional, S.A. de C.V.)
           (Minera Santa Rita S. de R.L. de C.V.)
  471      Argonaut Gold, Inc.                                    $6,161,862.46
           (Compania Minera Pitalla, S.A. de C.V.)
           (Minera Real del Oro S.A. de C.V.)
  470      Coeur Rochester, Inc.                                  $13,031,589.59
           (Coeur Mexicana S.A. de C.V.)
  460      First Majestic Silver Corp.                            $11,803,824.35
           (Nusantara De Mexico, S.A. de C.V.)
           (Primero Empresa Minera, S.A. de C.V.)
 451       Premier Gold Mines Ltd.                                  $10,500,000
 464       Pretium Exploration Inc.                                $5,124,328.91
 450       Tiffany and Company (Laurelton Sourcing LLC)           $20,809,351.03
 485       Yamana Gold, Inc.                                       $8,030,844.01
TOTAL                                                             $75,548,878.68

   3. Bailment Claims Based on Agreements with Non-RMC Debtors.

 Dkt No.                         Customer                    Asserted Claim Amount
  465      7645635 Canada Inc. o/a Ottowa Gold Buyer               $230,885.00
  463      Brilliant Jewelers / MJJ Inc. (Anjay Corp.)             $185,000.00
  458      Eddie & Co. of Ny, Inc. d/b/a Diamond Kingdom            $93,366.67
  454      Fundacion Rafeal Donde I.A.P.                         $15,610,000.00
  449      Midwest Refineries, LLC                                $3,453,308.00
  465      Pollock-Cameron Investments Corporation o/a             $250,072.45
           Vancouver Gold Buyer
TOTAL                                                             $19,822,632.12

   4. Unsecured Lease Agreement Claims.

Dkt No.                        Customer                      Asserted Claim Amount
 468       Mitchell Levine (Erie Management Partners, LLC)        $8,041,760.71
 428       SCMI US Inc. (Sumitomo)                                $8,652,000.00
TOTAL                                                            $16,693,760.71




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     5. Claims to Finished Goods Based on Alleged Prepayments.

Dkt No.                            Customer                                   Asserted Claim Amount
 440       APMEX, Inc.                                                             $7,616,226.12
 432       Bayside Metal Exchange                                                  $1,600,360.84
 591       BGASC, LLC                                                               $155,704.00
 518       Goldsilver, LLC                                                           $81,210.64
 462       Israel Coins & Medals                                                    $145,072.96
 512       James Avery Craftsman, Inc.                                              $433,747.00
 602       Jewelry Quarter Bullion Limited                                          $15,120.00
 476       Mid-States Recycling, Inc.                                               $72,610.00
 511       My Gold Limited28                                                         $76,834.63
 461       Prince & Izant                                                             $492,780
 584       San Diego Gold Exchange                                                   $60,361.00
 446       SK Bullion                                                               $745,660.00
 510       Texas Precious Metals29                                                  $130,700.00
TOTAL                                                                             $11,626,387.19

     6. Consignment-Related Claims.

 Dkt No.                       Customer                                       Asserted Claim Amount
  521      United States Gold Bureau /Wholesale Coins                               $138,749.80
           Direct, LLC
TOTAL                                                                                $138,749.80




28
           Settlement agreement pending before the Court for approval [Docket No. 599].
29
           Settlement agreement pending before the Court for approval [Docket No. 565].

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                                             Schedule B30

                                        Collateral Documents

Security Agreement dated January 29, 2016 between Republic Metals Corporation and Bank
Hapoalim B.M.

Security Agreement dated March 23, 2016 between Republic Metals Corporation and ICBC
Standard Bank Plc.

General Security Agreement dated June 24, 2016 between Republic Metals Corporation and
Brown Brothers Harriman & Co.

General Security Agreement dated June 24, 2016 between J & L Republic, LLC and Brown
Brothers Harriman & Co.

General Security Agreement dated June 24, 2016 between R & R Metals, LLC and Brown
Brothers Harriman & Co.

General Security Agreement dated June 24, 2016 between Richard Denis Rubin Enterprises LLC
and Brown Brothers Harriman & Co.

General Security Agreement dated June 24, 2016 between RMC Diamonds LLC and Brown
Brothers Harriman & Co.

General Security Agreement dated June 24, 2016 between RMC2 LLC and Brown Brothers
Harriman & Co.

Metals Lease Agreement dated March 6, 2017 between Republic Metals Corporation and
Mitsubishi International Corporation.

Lease Agreement dated March 6, 2017 between Republic Metals Corporation and Techemet Metal
Trading LLC.

Security Agreement dated June 26, 2017 between Republic Metals Corporation and Coöperatieve
Rabobank U.A., New York Branch.

Security Agreement dated October 31, 2017 by Republic Metals Corporation in favor of Bank
Leumi USA.

Security Agreement dated October 31, 2017 between Republic Metals Corporation and
Woodforest National Bank.

Second Amended and Restated Intercreditor Agreement dated February 19, 2016 among
Coöperatieve Rabobank U.A., New York Branch, Brown Brothers Harriman & Co., Bank
Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank Plc, Techemet Metal
Trading LLC, Woodforest National Bank and Bank Leumi USA and acknowledged and agreed to

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by Republic Metals Corporation, as amended by that certain First Amendment dated June 24,
2016, that certain Second Amendment dated February 19, 2016, that certain Third Amendment
dated June 2017 and that certain Fourth Amendment dated October 31, 2017.

Forbearance Agreement dated August 7, 2018 among Republic Metals Corporation and
Coöperatieve Rabobank U.A., New York Branch, Brown Brothers Harriman & Co., Bank
Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank Plc, Techemet Metal
Trading LLC, Woodforest National Bank and Bank Leumi USA, as amended by that certain First
Amendment to Forbearance Agreement dated August 17, 2018.

Security and Pledge Agreement dated September 7, 2018 among Republic Metals Corporation,
Republic Metals Refining Corporation, J&L Republic, LLC, R&R Metals, LLC, Richard Dennis
Rubin Enterprises LLC, RMC Diamonds LLC, RMC2 LLC, Republic High Tech Metals, LLC
and Republic Carbon Company, LLC and Rabobank, in its capacity as Collateral Agent for the
Senior Lenders.




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                                              Schedule C31

                                    UCC-1 Financing Statements

       Creditor                 Debtor                   File Date                      File Number

Bank Hapoalim B.M.         Republic Metals       2/26/2016                      201606619452
                           Corporation

ICBC Standard Bank         Republic Metals       3/24/2016                      201607043295
Plc                        Corporation

Brown Brothers             Republic Metals       6/17/2016                      201607923805
Harriman & Co.             Corporation

Brown Brothers             J & L Republic,       2/14/2018                      201804185297
Harriman & Co.             LLC

Brown Brothers             R & R Metals,         2/14/2018                      201804185300
Harriman & Co.             LLC

Brown Brothers             Richard Dennis        2/14/2018                      201804185319
Harriman & Co.             Rubin
                           Enterprises LLC

Brown Brothers             RMC 2 LLC             2/14/2018                      201804185327
Harriman & Co.

Brown Brothers             RMC Diamonds          2/14/2018                      201804185335
Harriman & Co.             LLC

Cooperatieve               Republic Metals       6/27/2017                      201701655649
Rabobank U.A., New         Corporation
York Branch

Bank Leumi USA             Republic Metals       10/31/2017                     201703123024
                           Corporation

Woodforest National        Republic Metals       11/1/2017                      201703134735
Bank                       Corporation

Mitsubishi                 Republic Metals       11/21/2012 (original);         20120792491X (original);
International              Corporation           6/03/2016 (amendment);         201607778244
Corporation                                      11/14/2017                     (amendment);
                                                 (continuation)                 201703258299
                                                                                (continuation)

Techemet Metal             Republic Metals       7/3/2018 (original);           20180575385X (original);


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      Creditor             Debtor                File Date             File Number

Trading LLC            Corporation       7/30/2018 (amendment)   201806013647 (amendment)

Cooperatieve           Republic Metals   9/10/2018               201806464916
Rabobank U.A., New     Corporation
York Branch, as
Collateral Agent

Cooperatieve           Republic Metals   9/10/2018               201806464924
Rabobank U.A., New     Refining
York Branch, as        Corporation
Collateral Agent

Cooperatieve           Richard Dennis    9/10/2018               201806464932
Rabobank U.A., New     Rubin
York Branch, as        Enterprises LLC
Collateral Agent

Cooperatieve           RMC 2 LLC         9/10/2018               201806464940
Rabobank U.A., New
York Branch, as
Collateral Agent

Cooperatieve           RMC Diamonds      9/10/2018               201806464959
Rabobank U.A., New     LLC
York Branch, as
Collateral Agent

Cooperatieve           J & L Republic,   9/10/2018               201806464878
Rabobank U.A., New     LLC
York Branch, as
Collateral Agent

Cooperatieve           R & R Metals,     9/10/2018               201806464886
Rabobank U.A., New     LLC
York Branch, as
Collateral Agent

Cooperatieve           Republic Carbon   9/10/2018               201806464894
Rabobank U.A., New     Company, LLC
York Branch, as
Collateral Agent

Cooperatieve           Republic High     9/10/2018               201806464908
Rabobank U.A., New     Tech Metals,
York Branch, as        LLC
Collateral Agent




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                                     Exhibit 1

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                                                                                         +,-./012ÿ4,5607ÿ89:;7ÿ815<ÿ-./0120=ÿ5:6>,>ÿ6?>ÿ<9.7,<90>ÿ-:1@65,
                                                                                       A1?1?Bÿ?6A,7ÿ59ÿ,?7.:,ÿ6ÿ7.--0=ÿ2<61?ÿ5<65ÿ17ÿ5:62,6/0,ÿ>1:,250=ÿ/62;ÿ59
                                                                                                       157ÿ-91?5ÿ9Cÿ,D5:62519?ÿC:9Aÿ5<,ÿB:9.?>E
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                                                                                          G<:9.B<ÿ5<,ÿH,62,ÿ9Cÿ41?,>Iÿ-:92,77Jÿ201,?57ÿ<6@,ÿ5<,ÿ6/1015=ÿ59
                                                                                          2<997,ÿ5<,ÿ,?515=ÿ5<,=ÿ817<ÿ59ÿ79.:2,ÿ5<,1:ÿC,,>7592;ÿC:9Aÿ.71?B
                                                                                         +,-./012ÿ4,5607Kÿ6--:9@,>ÿLMNOÿPMQREÿG<,ÿA1?,ÿ0175ÿ17ÿ29A-:17,>ÿ9C
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          41?,>Iÿ:,i?1?Bÿ21:2.15ÿ.7,7ÿ6ÿ-:9-:1,56:=ÿ-:92,77ÿ5<65ÿ600987ÿC9:ÿ/652<
          :,i?1?BEÿj?01;,ÿ,0,25:90=512ÿ:,i?1?BJÿ/652<ÿ:,i?1?Bÿ600987ÿC9:ÿA65,:160ÿ59
           C:,7<0=ÿ,?5,:ÿ6ÿ20,6?ÿ21:2.15ÿ>.:1?Bÿ5<,ÿ:,i?1?Bÿ-:92,77Jÿ6?>ÿ65ÿ?9ÿ-91?5
           29A,ÿ1?ÿ29?5625ÿ815<ÿ6?=ÿ95<,:k79.:2,>ÿA,560Eÿd?ÿ5<,ÿH,62,ÿ9Cÿ41?,>I
             :,i?1?Bÿ21:2.15Jÿ5<,ÿ>,71B?65,>ÿA65,:160ÿ17ÿ5<,ÿ9?0=ÿA65,:160ÿ-:,7,?5J
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          5<,:,ÿ6:,ÿ?9ÿ0,C59@,:7ÿ1?ÿ5<,ÿ21:2.15ÿmÿ15ÿ26?ÿ1?ÿ?9ÿ86=ÿ/,ÿ29A1?B0,>ÿ815<
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           G<,ÿH,62,ÿ9Cÿ41?,>Iÿ-:92,77ÿA61?561?7ÿ6ÿ>1:,25ÿ01?;ÿ600ÿ5<,ÿ86=ÿ59ÿ5<,
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                                                                                         2,:51i,>ÿ7.--01,:7ÿ6?>ÿ<6@,ÿH,62,ÿ9Cÿ41?,>Iÿ1?ÿ;?981?Bÿ5<,ÿ,D625
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                                                                                         B.6:6?5,,1?Bÿ157ÿ6.5<,?51215=ÿ6?>ÿ5<,ÿ6/1015=ÿ59ÿ5,00ÿ5<,ÿ759:=ÿ9Cÿ9:1B1?
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                                     Exhibit 2

                         RMC Standard Terms and Conditions
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          ?@ABCCÿEFGBHIJCBÿCFJKLAMFBNOÿFGBCBÿPFM@NMHNÿQBHRCÿM@NÿSB@BHMAÿTKBHMFJ@UÿVE@NJFJE@CÿWPFM@NMHNÿQBHRCXÿMHBÿMKKAJYMZABÿFEÿFHM@CMYFJE@CÿM@N[EHÿYE@FHMYFCÿZBFIBB@ÿ\BKLZAJYÿ]BFMAC
          VEHKEHMFJE@OÿW\]VXOÿM@NÿVLCFERBH^ÿWVLCFERBHXÿJCÿNB_@BNÿMCÿM@`ÿZLCJ@BCCOÿYEHKEHMFJE@OÿYERKM@`OÿKBHCE@OÿB@FJF`OÿEHÿM@`E@BÿBACBÿFHM@CMYFJ@UÿZLCJ@BCCÿIJFGÿ\]VÿJ@ÿM@`ÿRM@@BH
          IGMFCEBaBH^ÿb@`ÿYE@FHMYFÿEHÿMUHBBRB@FÿB@FBHBNÿJ@FEÿZBFIBB@ÿVLCFERBHÿM@Nÿ\]VÿIJAAÿEKBHMFBÿMCÿJcÿFGBÿFBHRCÿHBKHBCB@FBNÿJ@ÿFGBCBÿPFM@NMHNÿQBHRCÿIBHBÿRMNBÿBdKHBCCÀÿMÿKMHF
          FGBHBEc^ÿ\]VeCÿPFM@NMHNÿQBHRCÿJCÿFGBÿUEaBH@J@UÿNEYLRB@FÿIJFGÿHBCKBYFÿFEÿM@`ÿM@NÿMAAÿZLCJ@BCCÿNBMAJ@UCÿZBFIBB@ÿ\]VÿM@NÿVLCFERBHÿM@NÿCGMAAÿEaBHHJNBÿM@`ÿM@NÿMAAÿKHEaJCJE@CO
          FBHRCOÿM@NÿCFJKLAMFJE@CÿJ@ÿVLCFERBHÿKLHYGMCBÿEHNBHCOÿCMABCÿEHNBHCÿM@N[EHÿM@`ÿEFGBHÿVLCFERBHÿNEYLRB@FC^ÿ\]VeCÿcMJALHBÿFEÿEZfBYFÿFEÿM@`ÿFBHRCOÿKHEaJCJE@COÿM@N[EHÿCFJKLAMFJE@C
          HBKHBCB@FBNÿJ@ÿM@`ÿVLCFERBHÿNEYLRB@FCÿFGMFÿMHBÿMFÿaMHJM@YBÿIJFGÿ\]VeCÿPFM@NMHNÿQBHRCÿCGMAAÿ@EFÿZBÿNBBRBNÿMÿIMJaBHÿEcÿFGBÿFBHRCÿM@NÿYE@NJFJE@CÿYE@FMJ@BNÿGBHBJ@^ÿb@`
          MYg@EIABNUBRB@FÿZ`ÿVLCFERBHÿEcÿFGBCBÿPFM@NMHNÿQBHRCÿIJFGÿYGM@UBCÿRMNBÿFEÿJFÿZ`ÿVLCFERBHÿYE@CFJFLFBCÿMÿYEL@FBHhEiBH^
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          wxyz{|}~ÿ©ÿz{ÿ}x}ÿ{~ÿÿ~{}}yÿ{~ÿz{ÿz{ÿ}{~}ÿz}ÿ~z~z{ÿ~ÿy}zÿzÿy}ÿ¡{~ÿ{|}ÿ~z~z{ÿyÿ}ÿÿ | ÿ­}ÿw{xz
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          89ÿ<.3;.<ÿ3;ÿ7².9.ÿ7.-69ÿ8;<ÿ4:;<373:;9ÿ7:ÿ9.-µ.ÿ89ÿ8ÿ-./-.9.;7873µ.ÿ89ÿ/8-.;9ÿ/87-38.ÿ89ÿ8ÿ/-3µ87.ÿ877:-;.´ÿ=.;.-82ÿ:-ÿ3;ÿ8;´ÿ:7².-
          -./-.9.;7873µ.ÿ48/8437´ÿ:-ÿ:7².-9ÿ3;ÿ7².ÿ8-137-873:;ÿ0-7².-6:-.ÿ983<ÿ4097:6.-ÿ9²822ÿ;:7ÿ/8-7343/87.ÿ89ÿ8ÿ6.61.-ÿ:ÿ8ÿ42899ÿ:
          428368;79ÿ3;ÿ8;´ÿ28j9037ÿ32.<ÿ8=83;97ÿ-./01234ÿ6.7829ÿ89ÿ7²87ÿ7.-6ÿ39ÿ<.3;.<ÿ3;ÿ².-.3;ÿ:-ÿ-.287.<ÿ7²3-<ÿ/8-73.9
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          4ÿ1´ÿµ3-70.ÿ:ÿ7².ÿ7.-69ÿ9.7ÿ:-7²ÿ².-.3;ÿ7².ÿ4097:6.-ÿ39ÿj83µ3;=ÿ²39¶².-¶379ÿ-3=²7ÿ7:ÿ9.-µ.ÿ89ÿ8ÿ-./-.9.;7873µ.ÿ89ÿ8ÿ/8-.;9ÿ/87-38.ÿ89ÿ8
          /-3µ87.ÿ877:-;.´ÿ=.;.-82ÿ:-ÿ3;ÿ8;´ÿ:7².-ÿ-./-.9.;7873µ.ÿ48/8437´ÿ:-ÿ7:ÿ/8-7343/87.ÿ89ÿ8ÿ6.61.-ÿ:ÿ8ÿ42899ÿ:ÿ428368;79ÿ3;ÿ8;´ÿ28j9037
          32.<ÿ8=83;97ÿ-./01234ÿ6.7829ÿ4:-/:-873:;ÿ89ÿ<.3;.<ÿ².-.3;ÿ:-ÿ-.287.<ÿ/8-73.9
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          |zz}~yÿy}zÿ{~zÿÿzyÿy}z{ÿz{}ÿ8lrnlknrpmÿpl
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          3m¯lkm°tÿ<tsr±tloÿjtr¸ºrm¸ÿkm¼ÿ9k¹srm¸uÿwxyz{|}~ÿyÿ}ÿ~}y{y}ÿ{~ÿyx~ÿÿ{| ÿy|}zyÿx}yyÿ{z}~y}ÿ~}}ÿz{ÿÿ~zÿ{ÿyx~}
           {| ÿy|}zyÿz~{xÿwÿwxyz{|}~ÿ|xyzÿ{zÿwÿzÿÿ~}y{}ÿ}~{ÿ{ÿz|}ÿ{ÿÿy|}zyÿ}yz}ÿ{~ÿwÿx~}ÿz{ÿ{ÿy{ÿÿ~}yxzÿ
          wxyz{|}~ÿ}~ÿz}ÿ~yÿ{ÿ{yyÿ{ÿz}ÿ|z}~ÿxzÿyxÿz|}ÿyÿwÿyÿ}ÿz{ÿyx~}ÿz}ÿ{| ÿ|z}~ÿyÿ{ÿ{yyÿ{ÿ|z}~ÿÿyyÿ~{|ÿwxyz{|}~ÿz{ÿw
          x{ÿ}}~ÿz{ÿÿ}z}ÿzÿw«yÿ~}¤}~ÿx}yyÿ{z}~y}ÿ~}}ÿ{ÿ~}}zÿÿwÿ{ÿ|}zÿy}zÿÿwxyz{|}~ÿ{~ÿ~}¤ÿÿ}z}ÿÿwÿw
          yÿ}~ÿz}ÿ~}y{yzÿ{ÿyx~}ÿ{~ÿ{yyÿ{~ÿ|}ÿz{ÿyxÿ|}zÿ}ÿzÿwÿÿÿÿ|}zÿy}zÿÿwxyz{|}~ÿyÿ}ÿ}}ÿ}~ÿz}ÿ~{yyÿ}zÿ
          z~}ÿ}zyÿ{ÿyÿ|}zÿ©ÿÿ}½{~zÿz{ÿ| | ¾}ÿ~}¤ÿ{yzyÿwÿ|ÿ~}£x}yzÿwxyz{|}~ÿ|z}~ÿ}ÿ}ÿÿÿ~zx~ÿÿ~{~ÿz{ÿy|}zÿz{ÿw
          wxyz{|}~ÿ|xyzÿ{{ÿÿyz~xz{yÿzzÿwÿ|ÿ}ÿz{ÿwxyz{|}~ÿ~}~ÿz}ÿÿ{ÿ|z}~ÿz}~ÿzzÿ~~}yÿ}ÿÿÿ|}~ÿ{z}~ÿzÿzz
          ~}£x}yz}ÿÿwÿyÿyx¥}zÿz{ÿ~{}yyÿ}}yÿÿ}zyÿ{ÿwxyz{|}~ÿ|z}~ÿ~}ÿz{ÿ}ÿxz|z}ÿ}z}~| }ÿÿ}~y{}ÿ{ÿwÿ©ÿz}ÿ}}zÿwxyz{|}~«yÿ|z}~
          y{xÿ~~}ÿzÿwÿzÿÿ~{}ÿy}yÿ|}ÿy}yÿ{~ÿy}yÿzzÿ}}}ÿz|}~ÿwÿÿy}}ÿwxyz{|}~ÿ}~| yy{ÿ~{~ÿz{ÿz}ÿ}ÿy|
          yyÿ¡{~ÿÿ{z}~ÿ~{}x~}yÿzÿ~}y}zÿz{ÿyÿ|z}~ÿx}yyÿ{z}~y}ÿ~}}ÿz{ÿÿ~zÿ}zz}|}zÿ}zyÿ~}ÿ}z}~| }ÿÿ{}~}ÿÿw
          ÿ
          w«yÿ{}|}zÿ{ÿ~}}zÿ{ÿwxyz{|}~ÿ|z}~ÿyÿ{zÿ{yzzxz}ÿ~}}|}zÿyÿz{ÿz}ÿ£xzzÿ}zÿ{|{yz{ÿ{~ÿ}y~z{ÿyzxz}ÿÿwxyz{|}~
          wÿyÿzÿÿ~}y{}ÿ|{xzÿ{ÿz|}ÿy}zÿwxyz{|}~ÿ|z}~ÿÿyÿ~{|zÿ{zÿwxyz{|}~ÿ{ÿÿy¤zÿ~}yÿÿz}ÿ|z}~ÿxÿxz
          {zÿ| z}ÿz{ÿ£xzzÿ}zÿÿ{|{yz{ÿ{ÿz}ÿ|z}~ÿwÿyÿ}}ÿwxyz{|}~ÿ{~|}ÿ{ÿz}ÿ~{}yyÿ{ÿwxyz{|}~«yÿ|z}~ÿwxyz{|}~ÿ|xyzÿ{z

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                                                                                                                  ÿ7ÿ15:12:17
                                                                                                                                    88 Main Document
          !"#ÿ%&'(&)ÿ*ÿ+,*-.)*/0,ÿ1,+&.2ÿ.3ÿ'&4,ÿ3+.4ÿ+,5,&1'ÿ.3ÿ).'&5,ÿ.3ÿ*)6ÿ+,1.+',Pg   2ÿ7*+&*60
                                                                                                   )5,-ÿof
                                                                                                        '.ÿ4*8,ÿ*)ÿ./9,5'&.)ÿ5.)5,+)&):ÿ-;5(ÿ7*+&*)5,-<ÿ#;-'.4,+=-ÿ3*&0;+,ÿ'.ÿ-.ÿ./9,5'
                                                                                                            63
          -(*00ÿ/,ÿ2,,4,2ÿ*ÿ%*&7,+ÿ/6ÿ#;-'.4,+ÿ.3ÿ*)6ÿ50*&4ÿ#;-'.4,+ÿ4*6ÿ(*7,ÿ*:*&)-'ÿ!"#ÿ%&'(ÿ+,:*+2ÿ'.ÿ-;5(ÿ7*+&*)5,-<ÿ>)6ÿ2&-*:+,,4,)'ÿ/,'%,,)ÿ!"#ÿ*)2ÿ#;-'.4,+
          +,-;0'&):ÿ&)ÿ*ÿ3+;-'+*'&.)ÿ.3ÿ'(,ÿ*:+,,4,)'?ÿ*)2ÿ+,@;&+&):ÿ+,';+)ÿ.3ÿ;)+,A),2ÿ4*',+&*0?ÿ%&00ÿ/,ÿ2.),ÿ*'ÿ'(,ÿ#;-'.4,+=-ÿ,B1,)-,<
          ÿ
          DEFGHIJÿLMNOHPHNQPÿRNMÿSTPUNVFMÿWXEMFPPÿYFJHOFMZÿD[HEVFQUPÿMFJIUF\ÿUNÿ]QPTMIQGF^ÿYFJHOFMZ^ÿ_FH`[HQ`^ÿIQ\ÿDIVEJHQ`aÿ#;-'.4,+ÿVTPUÿQNUHRZÿ!"#ÿ.3ÿ'(,ÿ&)-;+*/0,
          7*0;,ÿ.3ÿ*)6ÿ-(&14,)'-ÿ2,-'&),2ÿ3.+ÿ!"#?ÿb!cd!ÿedÿfghcig!jÿedÿd!ÿbc#klbÿmjÿ>nÿgob!gppÿfghcig!jÿpg!ic#gÿpl#qÿ>pÿmleÿndeÿhc"cegfÿedÿlbpÿd!ÿrgfÿgo
          sSNVEJFUHNQÿNRÿIQÿNQtJHQFÿRNMVÿEMNOH\F\ÿNQÿuvSwPÿ_FxPHUFÿRNMÿYFJHOFMZÿDFMOHGFÿPIUHPyFPÿU[FÿQNUHGFÿMFzTHMFVFQU{|ÿr*&0;+,ÿ'.ÿ1+.7&2,ÿ-;5(ÿ).'&5,ÿ1+.7&2,2ÿ3.+
          */.7,ÿ.+ÿ*)ÿ*0',+)*',ÿ7*0;*'&.)ÿ).'&5,ÿ-1,5&A5*006ÿ*11+.7,2ÿ/6ÿ!"#ÿ&)ÿ%+&'&):ÿ1+&.+ÿ'.ÿ2,0&7,+6ÿ'.ÿ*)ÿ,B1+,--ÿ2,0&7,+6ÿ-,+7&5,ÿ*-ÿ2,-5+&/,2ÿ*/.7,?ÿ%&00ÿ+,-;0'ÿ&)ÿ5;-'.4,+
          /,*+&):ÿ'(,ÿ+&-8ÿ.3ÿ0.--ÿ.3ÿ'(,ÿ4*',+&*0ÿ;)'&0ÿ-;5(ÿ'&4,ÿ*-ÿ&'ÿ&-ÿ+,5,&7,2ÿ*)2ÿ*55,1',2ÿ/6ÿ!"#?ÿ&)ÿ*55.+2*)5,ÿ%&'(ÿ'(,ÿ1+.7&-&.)-ÿ-,'ÿ3.+'(ÿ/,0.%<ÿ>55.+2&):06?ÿ&3ÿ5;-'.4,+
          3*&0-ÿ'.ÿ1+.7&2,ÿ'(,ÿ).'&5,ÿ.+ÿ*0',+)*',ÿ7*0;*'&.)ÿ).'&5,ÿ*-ÿ-1,5&A,2ÿ(,+,&)?ÿ+&-8ÿ.3ÿ0.--ÿ.3ÿ4*',+&*0ÿ%&00ÿ1*--ÿ3+.4ÿ5;-'.4,+ÿ'.ÿ!"#ÿ.)06ÿ;1.)ÿ2,0&7,+6ÿ'.ÿ*)2ÿ*55,1'*)5,
          *'ÿ!"#=-ÿ+,A),+6?ÿ;)0,--ÿ.'(,+%&-,ÿ*:+,,2ÿ'.ÿ&)ÿ%+&'&):<ÿc3?ÿ(.%,7,+?ÿ5;-'.4,+ÿ'&4,06ÿ1+.7&2,-ÿ'(,ÿ).'&5,ÿ.+ÿ*0',+)*',ÿ7*0;*'&.)ÿ).'&5,ÿ*3.+,-*&2?ÿ+&-8ÿ.3ÿ0.--ÿ-(*00ÿ1*--ÿ'.
          !"#ÿ*'ÿ'(,ÿ'&4,ÿ.3ÿ2,0&7,+6ÿ'.ÿ*)2ÿ+,5,&1'ÿ/6ÿ'(,ÿ,B1+,--ÿ2,0&7,+6ÿ-,+7&5,ÿ+,3,++,2ÿ'.ÿ*/.7,<ÿc)ÿ*)6ÿ,7,)'?ÿ;1.)ÿ/.'(ÿ+,5,&1'ÿ/6ÿ!"#ÿ.3ÿ4,'*0ÿ-,)'ÿ/6ÿ5;-'.4,+ÿ3.+
          +,A)&):ÿ*)2ÿ*55,1'*)5,ÿ/6ÿ!"#?ÿ!"#ÿ-(*00ÿ/,*+ÿ'(,ÿ+,-1.)-&/&0&'6ÿ.3ÿ&)-;+*)5,ÿ3.+ÿ0.--ÿ.+ÿ2*4*:,ÿ'.ÿ-;5(ÿ4,'*0ÿ%(&0,ÿ*'ÿ!"#ÿ1+.7&2,2?ÿ(.%,7,+?ÿ!"#ÿ,B1+,--06
          +,-,+7,-ÿ'(,ÿ+&:('ÿ'.ÿ+,9,5'ÿ*)2ÿ+,';+)ÿ4*',+&*0-ÿ'.ÿ5;-'.4,+ÿ*-ÿ1+.7&2,2ÿ3.+ÿ/,0.%?ÿ*'ÿ5;-'.4,+=-ÿ,B1,)-,<
          ÿ
          c)ÿ'(,ÿ,7,)'ÿ'(*'ÿ!"#=-ÿ*:+,,4,)'ÿ%&'(ÿ#;-'.4,+ÿ&)50;2,-ÿ&)-;+*)5,?ÿbhg>pgÿndeg}ÿe(,ÿ&)-;+*)5,ÿ*~.+2,2ÿ'(,ÿ50&,)'ÿ&-ÿÿ-1,5&A5*006ÿ0&4&',2ÿ'.ÿ*)2ÿ-;/9,5'ÿ'.ÿ'(,
          &)-;+&):ÿ*:+,,4,)'-ÿ/,'%,,)ÿ!"#ÿ*)2ÿ&'-ÿ&)-;+*)5,ÿ;)2,+%+&',+-ÿ*)2ÿÿ:,),+*006?ÿ!"#=-ÿ&)-;+*)5,ÿ2.,-ÿ).'ÿ&)50;2,ÿ.+ÿ5.7,+1+.',5'ÿ1*58*:,-ÿ'(*'ÿ(*7,ÿ/,,)
          +,9,5',2ÿ/6ÿ!"#=-ÿ-(&11&):ÿ2,1*+'4,)'ÿ/,5*;-,ÿ'(,ÿ1*58&):ÿ4*',+&*0ÿ-,,4-ÿ'.ÿ/,ÿ5.41+.4&-,2ÿ.+ÿ&3ÿ'(,+,ÿ&-ÿ*ÿ%,&:('ÿ2&-5+,1*)56ÿ/,'%,,)ÿ'(,ÿ5;-'.4,+-=ÿ+,1.+',2
          -(&11&):ÿ%,&:('ÿ*)2ÿ'(,ÿ%,&:('ÿ*-5,+'*&),2ÿ/6ÿ!"#=-ÿ-(&11&):ÿ2,1*+'4,)'ÿ*'ÿ'(,ÿ'&4,ÿ.3ÿ*++&7*0<ÿc)ÿ'(,-,ÿ&)-'*)5,-?ÿ&3ÿ*11+.1+&*',?ÿ!"#ÿ%&00ÿA0,ÿ*ÿ50*&4ÿ%&'(ÿ&'-ÿ&)-;+,+-
          '.ÿ*-5,+'*&)ÿ'(,ÿ+,-1.)-&/&0&'6ÿ3.+ÿ'(,ÿ+,9,5',2ÿ.+ÿ5.41+.4&-,2ÿ-(&14,)'-ÿ*)2ÿ/.'(ÿ'(,ÿ5;-'.4,+ÿ*)2ÿ!"#ÿ%&00ÿ/,ÿ-;/9,5'ÿ'.ÿ*)2ÿ/.;)2ÿ/6ÿ-*&2ÿ&)-;+,+=-ÿ5.7,+*:,
          2,5&-&.)ÿ&)ÿ'(&-ÿ+,:*+2<
          ÿ
          r;+'(,+?ÿ!"#=-ÿ&)-;+*)5,ÿ2.,-ÿ).'ÿ5.7,+ÿ-*&2ÿ'.ÿ5.)'*&)ÿ4*',+&*0<ÿe(;-?ÿ-(.;02ÿ!"#ÿ*55,1'ÿ*ÿ1*58*:,ÿ5.)'*&)&):ÿ&',4-ÿ.'(,+ÿ'(*)ÿ'(,ÿ&',4-ÿ1;+1.+',2ÿ'.ÿ/,ÿ5.)'*&),2
          *-ÿ1,+ÿ5;-'.4,+ÿ-(&11&):ÿ2.5;4,)'*'&.)?ÿ5;-'.4,+ÿ-(*00ÿ).'ÿ/,ÿ,)'&'0,2ÿ'.ÿ&)-;+*)5,ÿ5.7,+*:,ÿ.+ÿ1+.5,,2-ÿ3.+ÿ%(*'ÿ%*-ÿ-*&2ÿ'.ÿ/,ÿ5.)'*&),2ÿ'(,+,&)ÿ&<,<ÿ#;-'.4,+=-
          1*58*:,ÿ5.)'*&)-ÿ+.58-ÿ&)-',*2ÿ.3ÿ1+,5&.;-ÿ4,'*0-<
          c)2&7&2;*0ÿ&)5.4&):ÿ/.B,-ÿ2,0&7,+,2ÿ7&*ÿ:+.;)2ÿ'+*)-1.+'*'&.)ÿ%(&5(ÿ.+&:&)*',ÿ3+.4ÿ.;'-&2,ÿ.3ÿr0.+&2*?ÿ4*6ÿ/,ÿ&)-;+,2ÿ3.+ÿ;1ÿ'.ÿ*)2ÿ&)50;2&):ÿ?ÿ1,+ÿ/.B?
          2,1,)2&):ÿ.)ÿ#;-'.4,+=-ÿ*:+,,4,)'ÿ%&'(ÿ!"#<
          ÿ
          YFJFUFMHNTPÿWJFVFQUP}ÿÿÿ#;-'.4,+ÿ"lpeÿ5.)'*5'ÿ!"#ÿ*)2ÿ-,,8ÿ*11+.7*0ÿ1+&.+ÿ'.ÿ-(&14,)'ÿ.3ÿ4*',+&*0ÿ5.)'*&)&):ÿ*)6ÿ.3ÿ'(,ÿ3.00.%&):ÿ,0,4,)'-<
            >-ÿÿ>+-,)&5 m,ÿÿm,+600&;4 m&ÿÿm&-4;'( #2ÿÿ#*24&;4 q:ÿÿ",+5;+6 n&ÿÿn&58,0
             b/ÿÿh,*2 p/ÿÿ>)'&4.)6 p,ÿÿp,0,)&;4                  p)ÿÿe&) e,ÿÿe,00;+&;4
          r*&0;+,ÿ'.ÿ2.ÿ-.ÿ4*6ÿ+,-;0'ÿ&)ÿ*)6ÿ.3ÿ'(,ÿ3.00.%&):ÿ&)50;2&):ÿ/;'ÿ).'ÿ0&4&',2ÿ'.}ÿ*ÿe(,ÿ+,';+)ÿ.3ÿ#;-'.4,+=-ÿ4,'*0ÿ'.ÿ#;-'.4,+ÿ*'ÿ#;-'.4,+=-ÿ,B1,)-,?ÿ/ÿ>ÿ(*)20&):ÿ3,,
          .3ÿ;1ÿ'.ÿ?<ÿlpf<
          ÿ
          vFJUHQ`ÿIQ\ÿPPIZHQ`}ÿr+.4ÿ,*5(ÿ0.'ÿ*)2.+ÿ4,0'ÿ!"#ÿ-(*00ÿ5.00,5'ÿ*ÿ+,1+,-,)'*'&7,ÿ-*410,ÿ&)ÿ'(,ÿ3.+4ÿ.3ÿ*ÿ/;''.)?ÿ/*+?ÿ'(&,3ÿ-*410,?ÿ*)2.+ÿ/6ÿ*)2ÿ'(+.;:(ÿ*)6
          -*410&):ÿ1+.5,2;+,ÿ!"#ÿ4*6ÿ2,,4ÿ*11+.1+&*',ÿ3.+ÿ'(,ÿ:&7,)ÿ4*',+&*0<ÿe(&-ÿ-*410,ÿ&-ÿ'(,)ÿ;-,2ÿ5.)2;5'ÿ*)ÿ*)*06-&-ÿ.3ÿ#;-'.4,+=-ÿ4*',+&*0<
          ÿ
          !"#ÿ%&00ÿ5.)2;5'ÿ*--*6ÿ'+&*0-ÿ*)2ÿ+,1.+'ÿ'(,ÿ+,-;0'-ÿ'.ÿ'(,ÿ#;-'.4,+<ÿ#;-'.4,+ÿ(*-ÿ3.+'6,&:('ÿÿ(.;+-ÿ&)ÿ%(&5(ÿ'.ÿ./9,5'ÿ'.ÿ'(,ÿ*--*6ÿ+,1.+'ÿ*3',+ÿ%(&5(ÿ'&4,ÿ'(,
          *--*6ÿ+,1.+'ÿ%&00ÿ/,ÿ2,,4,2ÿ*55,1',2ÿ/6ÿ#;-'.4,+ÿ*)2ÿ'(,ÿ+&:('ÿ'.ÿ5.)',-'ÿ'(,ÿ*--*6ÿ+,1.+'ÿ%&00ÿ/,ÿ2,,4,2ÿ%*&7,2<ÿl1.)ÿ./9,5'&.)ÿ/6ÿ#;-'.4,+ÿ'.ÿ'(,ÿ*--*6ÿ+,1.+'?
          !"#ÿ4*6ÿ1;+-;,ÿ7*+&.;-ÿ.1'&.)-ÿ&)50;2&):ÿ/;'ÿ).'ÿ0&4&',2ÿ'.}
          ÿ
          n,:.'&*'&):ÿ4;';*006ÿ*:+,,*/0,ÿA:;+,-ÿ%&'(ÿ%(&5(ÿ'.ÿ5.41;',ÿ'(,ÿ1+,5&.;-ÿ4,'*0-ÿ5.)'*&),2ÿ&)ÿ'(,ÿ0.'ÿ.+ÿ4,0'?ÿ.+ÿ/ÿ*:+,,&):ÿ%&'(ÿ#;-'.4,+ÿ'.ÿ-.0&5&'ÿ*)ÿ;41&+,ÿ*--*6
          '(&+2ÿ1*+'6ÿ*--*6<ÿb0,*-,ÿ+,@;,-'ÿ*)ÿl41&+,ÿb+.5,2;+,ÿ2.5;4,)'ÿ-(.;02ÿ6.;ÿ2,-&+,ÿ3;+'(,+ÿ,B10*)*'&.)ÿn.',}ÿ!"#ÿ%&00ÿ2&-1.-,ÿ.3ÿ*)6ÿ*)2ÿ*00ÿ1+,5&.;-ÿ*)2ÿ).)
          1+,5&.;-ÿ4*',+&*0ÿ&)50;2&):ÿ/;'ÿ).'ÿ0&4&',2ÿ'.ÿ*)6ÿ-0*:?ÿ4*:),'&5?ÿ*)2ÿ.+ÿ*)6ÿ1+,5&.;-ÿ*)2ÿ).)ÿ1+,5&.;-ÿ4*',+&*0ÿ).'ÿ+,@;,-',2ÿ/6ÿ#;-'.4,+ÿ3.+ÿ+,';+)<ÿ!"#ÿ-(*00ÿ/,
          3+,,ÿ.3ÿ*)6ÿ0&*/&0&'6ÿ'.ÿ+,';+)ÿ*)6ÿ*22&'&.)*0ÿ4,'*0ÿ).'ÿ+,@;,-',2ÿ/6ÿ#;-'.4,+ÿ*)2.+ÿ*:+,,2ÿ;1.)ÿ/6ÿ#;-'.4,+ÿ*)2ÿ!"#ÿ.+ÿ-1,5&A5*006ÿ).',2ÿ&)ÿ'(,ÿ+,A)&):ÿ',+4-<
          p,''0,4,)'ÿ'&4,-ÿ4*6ÿ7*+6ÿ2,1,)2&):ÿ.)ÿ*7*&0*/0,ÿ1+.2;5'&.)ÿ5*1*5&'6<ÿp,''0,4,)'ÿ-(*00ÿ).'ÿ.55;+ÿ2;+&):ÿ%,,8,)2-?ÿ0,:*0ÿ(.0&2*6-ÿ*)2ÿ!"#=-ÿ7*5*'&.)ÿ1,+&.2-
          ÿ
          S[IM`FP}ÿl)0,--ÿ.'(,+%&-,ÿ*:+,,2?ÿ#;-'.4,+ÿ*:+,,-ÿ'.ÿ1*6ÿ*)6ÿ*)2ÿ*00ÿ1+,1*+*'&.)?ÿ'+,*'4,)'?ÿ+,A)&):?ÿ*)2.+ÿ*)6ÿ.'(,+ÿ5;-'.4*+6ÿ5(*+:,-ÿ+,0*',2ÿ'.ÿ'(,ÿ-*&2
          4*',+&*0<ÿp*0,-?ÿ;-,?ÿ,B5&-,?ÿ*)2.+ÿ*)6ÿ.'(,+ÿ'*B,-ÿ.+ÿ*--,--4,)'-?ÿ0,7&,-?ÿ.+ÿ:.7,+)4,)'*0ÿ5(*+:,-ÿ/,ÿ&'ÿ3,2,+*0?ÿ-'*',?ÿ0.5*0ÿ'(*'ÿ*+,ÿ&)ÿ*22&'&.)ÿ'.ÿ'(,ÿ*/.7,ÿ4,)'&.),2
          5(*+:,-ÿ-(*00ÿ/,ÿ1*&2ÿ/6ÿ'(,ÿ#;-'.4,+<ÿ>00ÿ5(*+:,-ÿ/,5.4,ÿ1*6*/0,ÿ*3',+ÿ#;-'.4,+ÿ+,5,&1'ÿ.3ÿ'(,ÿ&)7.&5,<ÿ!"#ÿ&-ÿ,)'&'0,2ÿ*)2ÿ,41.%,+,2ÿ'.ÿ%&'((.02ÿ2,0&7,+6ÿ.3ÿ*)6
          +,';+)*/0,ÿ.+ÿ'+*)-3,+*/0,ÿ4,'*0-ÿ.+ÿ4.),6ÿ2;,ÿ'.ÿ'(,ÿ#;-'.4,+ÿ;)'&0ÿ-;5(ÿ'&4,ÿ*-ÿ*00ÿ*4.;)'-ÿ2;,ÿ'.ÿ!"#ÿ/6ÿ#;-'.4,+ÿ*+,ÿ+,5,&7,2<ÿc)ÿ*'',41'&):ÿ'.ÿ+,'+&,7,ÿ*)6
          4.)&,-ÿ2;,ÿ!"#ÿ/6ÿ#;-'.4,+ÿ.+ÿ&'-ÿ*--&:)-?ÿ!"#ÿ+,-,+7,-ÿ'(,ÿ+&:('-ÿ*)2ÿ+,4,2&,-ÿ&)50;2&):ÿ/;'ÿ).'ÿ0&4&',2ÿ'.}ÿ*ÿ'.ÿ5*)5,0ÿ*)6ÿ#;-'.4,+ÿ.+2,+ÿ/ÿ'.ÿ+,3;-,ÿ'.ÿ4*8,
          3;+'(,+ÿ2,0&7,+&,-ÿ2;,ÿ'.ÿ#;-'.4,+ÿ#ÿ'.ÿ2,50*+,ÿ2;,ÿ*)2ÿ1*6*/0,ÿ&44,2&*',06ÿ*)6ÿ*)2ÿ*00ÿ;)1*&2ÿ*4.;)'-ÿ3.+ÿ:..2-ÿ1+,7&.;-06ÿ2,0&7,+,2ÿ'.ÿ#;-'.4,+<
          ÿ
          >00ÿ!"#ÿ5(*+:,-ÿ*+,ÿ1*6*/0,ÿ;1.)ÿ'(,ÿ+,)2,+&):ÿ.3ÿ*)ÿ&)7.&5,<ÿ>55,1'*)5,ÿ.3ÿ5(,58?ÿ2+*3'?ÿ5+,2&'ÿ5*+2ÿ1*64,)'-?ÿ.+ÿ*)6ÿ+,4&''*)5,ÿ,B5,1'ÿ0,:*0ÿ',)2,+ÿ5*-(ÿ-(*00ÿ).'
          5.)-'&';',ÿ1*64,)'ÿ;)'&0ÿ-;5(ÿ1*64,)'ÿ1+.5,--,-ÿ*+,ÿ5.410,',2ÿ*)2ÿ*)6ÿ1*6ÿ1,+&.2ÿ'.ÿ5.)',-'ÿ*)6ÿ5(*+:,-ÿ+,,5',2ÿ.)ÿ'(&-ÿ&)7.&5,ÿ(*7,ÿ,B1&+,2<ÿl)'&0ÿ-;5(ÿ'&4,?ÿ!"#
          -(*00ÿ/,ÿ2,,4,2ÿ'.ÿ+,'*&)ÿ'&'0,ÿ'.ÿ*)2ÿ*ÿ-,5;+&'6ÿ&)',+,-'ÿ&)ÿ*00ÿ4*',+&*0ÿ5.7,+,2ÿ/6ÿ*)6ÿ!"#ÿ&)7.&5,ÿ'.ÿ-,5;+,ÿ'(,ÿ1*64,)'ÿ.3ÿ'(,ÿ-*4,<ÿc3ÿ#;-'.4,+ÿ3*&0-ÿ'.ÿ4*8,
          1*64,)'-ÿ%(,)ÿ2;,?ÿ'(,ÿ*4.;)'ÿ;)1*&2ÿ&-ÿ-;/9,5'ÿ'.ÿ*)ÿ&)',+,-'ÿ5(*+:,ÿ.3ÿ',)ÿ1,+5,)'ÿÿ1,+ÿ*));4ÿ2&-5.;)',2ÿ'.ÿ+,1+,-,)'ÿ'(,ÿ*4.;)'ÿ.3ÿ'&4,ÿ1*--,2ÿ3.+ÿ%(&5(
          1*64,)'ÿ(*-ÿ).'ÿ/,,)ÿ+,5,&7,2<ÿe(&-ÿ&)',+,-'ÿ+*',ÿ&-ÿ-;/9,5'ÿ'.ÿ;5';*'&.)ÿ%&'(.;'ÿ).'&5,ÿ/*-,2ÿ.)ÿ5;++,)'ÿ/*)8ÿ/*-,ÿ0,)2&):ÿ+*',-<
          ÿ
          LNFMÿNRÿUUNMQFZ}ÿ#;-'.4,+ÿ(,+,/6ÿ*11.&)'-ÿ!"#ÿ*-ÿ#;-'.4,+=-ÿ*''.+),6&)3*5'?ÿ%&'(ÿ3;00ÿ1.%,+ÿ.3ÿ-;/-'&';'&.)?ÿ'.ÿ2,4*)2?ÿ+,5,&7,?ÿ*)2ÿ5.00,5'ÿ3.+ÿ!"#=-ÿ.%)ÿ;-,
          *)2ÿ/,),A'ÿ*00ÿ2,/'-?ÿ./0&:*'&.)-?ÿ*)2ÿ*55.;)'-ÿ+,5,&7*/0,ÿ).%ÿ.%&):ÿ'.ÿ!"#<ÿ#;-'.4,+ÿ3;+'(,+ÿ*;'(.+&,-ÿ!"#ÿ'.ÿ2.ÿ*00ÿ'(&):-ÿ0,:*006ÿ1,+4&--&/0,?ÿ+,@;&+,2?ÿ.+ÿ2,,4,2
          /6ÿ!"#ÿ'.ÿ/,ÿ+,@;&+,2?ÿ'.ÿ+,5.7,+ÿ*)2ÿ5.00,5'ÿ'(,ÿ2,/'-?ÿ./0&:*'&.)-?ÿ*)2ÿ*55.;)'-ÿ+,5,&7*/0,ÿ*)2ÿ'.ÿ;-,ÿ#;-'.4,+=-ÿ)*4,ÿ&)ÿ*)6ÿ4*)),+ÿ!"#ÿ4*6ÿ2,,4ÿ),5,--*+6ÿ3.+
          '(,ÿ5.00,5'&.)ÿ*)2ÿ+,5.7,+6ÿ.3ÿ'(,ÿ2,/'-?ÿ./0&:*'&.)-?ÿ*)2ÿ*55.;)'-ÿ+,5,&7*/0,ÿ/;'ÿ%&'(.;'ÿ5.-'?ÿ,B1,)-,?ÿ.+ÿ2*4*:,ÿ'.ÿ#;-'.4,+<
118797891789 1                                                                                                                                         01
012310425 18-13359-shl                  Doc 637                Filed 02/18/19  6789 ÿÿEntered  ÿÿ702/18/19
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                                                                                                                                    88 Main Document
           ÿ                                                                               Pg 61 of 63
           #$$%&%'()**+,ÿ).ÿ)ÿ/'01.2ÿ'3ÿ40.%(2..,ÿ567ÿ12.2182.ÿ&92ÿ1%:9&ÿ&'ÿ';.2&ÿ12<(%(:ÿ/9)1:2.ÿ4+ÿ*%=0%$)&%(:ÿ70.&'>21?.ÿ@''*ÿ)//'0(&ÿ&'ÿ&92ÿ2A&2(&ÿ&9)&ÿ.0/9ÿ/9)1:2.ÿ)12ÿ@)%$B
           C0/9ÿ/9)1:2.ÿ%(/*0$2ÿ40&ÿ)12ÿ('&ÿ*%>%&2$ÿ&'ÿ)(+ÿ'821$1)3&ÿ322.,ÿ0(@)%$ÿ322.ÿ'1ÿ/9)1:2.,ÿ)($ÿ9)($*%(:ÿ322.ÿ3'1ÿ$2*2&21%'0.ÿ>)&21%)*.ÿ3'1ÿD9%/9ÿ70.&'>21ÿ%.ÿ12.@'(.%4*2B
           70.&'>21ÿ2>@'D21.ÿ567ÿ&'ÿ';.2&ÿ)($E'1ÿ*%=0%$)&2ÿ)(+ÿ70.&'>21ÿ@''*ÿ)//'0(&ÿ0($21ÿ)(+ÿ/'>@)(+ÿ'1ÿ/'1@'1)&2ÿ()>2ÿD9212ÿ70.&'>21ÿ%.ÿ3'0($ÿ&'ÿ9)82ÿ/'>>'(
           'D(21.9%@,ÿ&'ÿ.2/012ÿ)(+ÿ)($ÿ)**ÿ$24&.ÿ'D2$ÿ&'ÿ567BÿF(ÿ)$$%&%'(ÿ&'ÿ)(+ÿ/'.&.ÿ%(/0112$ÿ4+ÿ567ÿ%(ÿ/'((2/&%'(ÿD%&9ÿF&.ÿ2(3'1/2>2(&ÿ'3ÿ)(+ÿ.0>.ÿ'3ÿ>'(2+,ÿ'1ÿ>2&)*,ÿ'1
           8)*02ÿ&9212'3ÿ$02ÿ92120($21ÿ'1ÿ2(3'1/2>2(&ÿ'3ÿ%&.ÿ1%:9&.ÿ92120($21,ÿ%3ÿ567ÿ2>@*'+.ÿ)(ÿ)&&'1(2+ÿ&'ÿ2(3'1/2ÿ/'**2/&%'(ÿ'3ÿ)(+ÿ.0>.ÿ$02ÿ92120($21ÿ'1ÿ&'ÿ2(3'1/2ÿ)(+ÿ'3
           %&.ÿ1%:9&.ÿ92120($21,ÿ%(ÿD9'*2ÿ'1ÿ%(ÿ@)1&,ÿ&92(ÿ70.&'>21ÿD%**ÿ@)+ÿ)ÿ12).'()4*2ÿ322ÿ12@12.2(&%(:ÿ.0/9ÿ)&&'1(2+.?ÿ.218%/2.ÿ%(/*0$%(:ÿ/'.&.,ÿ12:)1$*2..ÿ'3ÿD92&921ÿ.0%&ÿ%.
           %(.&%&0&2$,ÿ)($ÿD92&921ÿ)&ÿ&1%)*,ÿ'(ÿ)@@2)*,ÿ%(ÿ>2$%)&%'(,ÿ)14%&1)&%'(,ÿ'1ÿ)$>%(%.&1)&%82ÿ@1'/22$%(:.B
           ÿ
           GHHIJKHIIÿMNNHOPQRÿ#ÿ@''*ÿ)//'0(&ÿ%.ÿ)ÿ*2$:21ÿ)//'0(&ÿ12@12.2(&%(:ÿ&92ÿ)>'0(&ÿ'3ÿ12&01()4*2ÿ>2&)*ÿ'D2$ÿ&'ÿ70.&'>21ÿS%3ÿ)//'0(&ÿ12T2/&.ÿ)ÿ@'.%&%82ÿ4)*)(/2U,ÿ'1ÿ&92
           )>'0(&ÿ'3ÿ>2&)*ÿ'D2$ÿ&'ÿ567ÿS%3ÿ&92ÿ)//'0(&ÿ12T2/&.ÿ)ÿ(2:)&%82ÿ4)*)(/2UBÿV12/%'0.ÿ>2&)*.ÿ)12ÿ30(:%4*2Wÿ&92123'12ÿ)(+ÿ0(%&ÿ'3ÿ>)&21%)*ÿ%.ÿ2=0%8)*2(&ÿ&'ÿ)('&921ÿ'3ÿ*%X2
           X%($ÿ%B2Bÿ.%>%*)1ÿ=0)*%&+ÿ)($E'1ÿ8)*02,ÿ)($ÿ%.ÿ$22>2$ÿ)$2=0)&2ÿ@)+>2(&ÿ3'1ÿ@01@'.2.ÿ'3ÿ'0&.&)($%(:ÿV''*ÿ#//'0(&.Bÿ52&01()4*2ÿ>2&)*ÿ12@12.2(&2$ÿ%(ÿ)ÿ70.&'>21ÿV''*
           #//'0(&ÿ$'2.ÿ('&ÿ@21&)%(ÿ&'ÿ.@2/%</,ÿ.2:12:)&2$,ÿ'1ÿ%$2(&%<)4*2ÿ>2&)*Wÿ1)&921ÿ%&ÿ12@12.2(&.ÿ)ÿ30&012ÿ'4*%:)&%'(ÿ'3ÿ567ÿ&'ÿ12&01(ÿ/'>>'(ÿ%(82(&'1+ÿ'3ÿ:'*$,ÿ.%*821,
           @*)&%(0>,ÿ@)**)$%0>,ÿ'1ÿ@*)&%(0>ÿ:1'0@ÿ>2&)*.Bÿ567ÿ12.2182.ÿ&92ÿ1%:9&ÿ&'ÿ12&01(ÿ@12/%'0.ÿ>2&)*.ÿ&'ÿ70.&'>21ÿ'3ÿ*%X2ÿX%($ÿ12@12.2(&%(:ÿ&92ÿ'0(/2.ÿ'3ÿ@12/%'0.ÿ>2&)*.
           'D2$ÿ&'ÿ70.&'>21Bÿ567ÿ12.2182.ÿ&92ÿ1%:9&ÿ&'ÿ';.2&ÿ(2:)&%82ÿ4)*)(/2.ÿ%(ÿ70.&'>21?.ÿ@''*ÿ)//'0(&ÿD%&9ÿ12.@2/&ÿ&'ÿ)(+ÿ)($ÿ)**ÿ>2&)*ÿ%(ÿ70.&'>21?.ÿ@''*ÿ)//'0(&ÿ4+
           @01/9).%(:ÿ)($E'1ÿ*%=0%$)&%(:ÿ)(+ÿ>2&)*.ÿ12T2/&%(:ÿ)ÿ@'.%&%82ÿ4)*)(/2ÿ%(ÿ70.&'>21?.ÿ@''*ÿ)//'0(&Bÿ52@04*%/ÿ12.2182.ÿ&92ÿ1%:9&ÿ&'ÿ@1%/2ÿ'0&ÿ)(+ÿ0(<A2$ÿ'0(/2.ÿ12>)%(%(:
           %(ÿ70.&'>21ÿ@''*ÿ)//'0(&ÿ%(ÿ)(ÿ2;'1&ÿ&'ÿ.2&&*2ÿ70.&'>21ÿ*'&BÿC9'0*$ÿ70.&'>21ÿ$2.%12ÿ&'ÿ*2)82ÿ'0(/2.ÿ0(Y@1%/2$ÿ%(ÿ70.&'>21ÿ@''*ÿ)//'0(&,ÿ70.&'>21ÿ>0.&ÿ('&%3+
           52@04*%/ÿ%(ÿD1%&%(:ÿ)&ÿ*2).&ÿ&D2(&+ÿ3'01ÿSZ[Uÿ9'01.ÿ@1%'1ÿ&'ÿ&92ÿ.2&&*2>2(&ÿ$)&2ÿ'3ÿ&92ÿ12.@2/&%82ÿ*'&Wÿ)3&21ÿ.0/9ÿ&%>2ÿ9).ÿ2*)@.2$,ÿ70.&'>21ÿ.9)**ÿ42ÿ$22>2$ÿ&'ÿ9)82
           D)%82$ÿ.0/9ÿ1%:9&Bÿ\]^_ÿ̀bc_de_ÿe__ÿfghÿbijklde_eÿm]jÿdÿn_ekjop^o]qÿ]mÿfghreÿj_^ijqdsc_ÿt_^dcu
           ÿ
           vHPwxyPz{PQ|ÿF&ÿ%.ÿ2A@12..*+ÿ):122$ÿ0@'(ÿ4+ÿ4'&9ÿ@)1&%2.ÿ&9)&ÿ)(+ÿ)($ÿ)**ÿ>)&21%)*ÿ.9%@@2$ÿ&'ÿ70.&'>21,ÿ)($E'1ÿ$2*%8212$ÿ&'ÿ70.&'>21,ÿ)($E'1ÿ12*2).2$ÿ&'ÿ70.&'>21ÿ'(
           )ÿ/'(.%:(>2(&E4)%*>2(&ÿ4).%.ÿ12>)%(.ÿ&92ÿ@1'@21&+ÿ'3ÿ567,ÿD%&9ÿ)ÿ.2/01%&+ÿ%(&212.&ÿ%(ÿ567,ÿ0(&%*ÿ&92ÿ>)&21%)*ÿ%.ÿ12&01(2$ÿ&'ÿ567ÿ%(ÿ%&.ÿ2(&%12&+ÿD%&9ÿ%(&212.&ÿ@)%$,ÿ'1
           >)&21%)*ÿ'3ÿ2=0)*ÿ=0)*%&+,ÿX%($,ÿ)($ÿ8)*02ÿ%.ÿ12&01(2$ÿ&'ÿ567Bÿ70.&'>21ÿ$'2.ÿ('&ÿ9)82ÿ*2:)*ÿ&%&*2ÿ&'ÿ.0/9ÿ@1'@21&+ÿ0(&%*ÿ&92ÿ)4'82ÿ'4*%:)&%'(.ÿ)12ÿ30*<**2$BÿC9'0*$
           70.&'>21ÿ&1)(.321,ÿ)..%:(,ÿ.2**,ÿ'1ÿ)&&2>@&ÿ&'ÿ@)..ÿ&%&*2ÿ&'ÿ.)%$ÿ>)&21%)*ÿ%(ÿ)(+ÿ'&921ÿD)+,ÿ70.&'>21ÿD%**ÿ42ÿ12.@'(.%4*2ÿ3'1ÿ12&01(%(:ÿ&'ÿ567ÿ>)&21%)*ÿ'3ÿ*%X2ÿX%($,
           12@12.2(&%(:ÿ&92ÿ.)>2ÿ8)*02Bÿ}~CCÿ5FCÿ V5CCÿ#5ÿÿF~ÿ5FF~ÿ#ÿ7~CF~6~ÿ5#~C#7F~Cÿ#5ÿ}55ÿC}7ÿÿ56Cÿ
           V5FCCF~CÿCÿ5ÿF~ÿ567?Cÿ56ÿ7~CF~6~ÿ7~5#7ÿF7ÿFÿÿ}5~FCÿ}V~ÿ5}CB
           ÿ
           vÿGONw{w|ÿ70.&'>21.ÿD%**ÿ42ÿ@)%$ÿ)//'1$%(:ÿ&'ÿ&92%1ÿ12&01()4*2ÿ>2&)*.Bÿ92ÿ12&01()4*2ÿ>2&)*ÿ12@12.2(&.ÿ&92ÿ)>'0(&ÿ'3ÿ@12/%'0.ÿ>2&)*.ÿ/'(&)%(2$ÿ%(ÿ&92
           70.&'>21ÿ*'&ÿ>%(0.ÿ)(+ÿ567ÿ12<(%(:ÿ/9)1:2.ÿ)($E'1ÿ)(+ÿ'&921ÿ/9)1:2.Bÿ52&01()4*2ÿ>2&)*.ÿ.9)**ÿ42ÿ%(ÿ&92ÿ3'1>ÿ'3ÿ<(2ÿ:'*$ÿ4)1.ÿ)($E'1ÿ:1)(0*)&%'(ÿ0(*2..ÿ'&921D%.2
           ):122$ÿ}(*2..ÿ'&921D%.2ÿ):122$,ÿ<(2ÿ:'*$ÿ4)1.ÿ)($E'1ÿ<(2ÿ:'*$ÿ:1)(0*)&%'(ÿ.9)**ÿ)..)+ÿ)ÿ>%(%>0>ÿBÿ<(2,ÿ)($ÿ&92ÿ<(2ÿ.%*821ÿ4)1.ÿ)($E'1ÿ:1)(0*)&%'(ÿ.9)**ÿ)..)+ÿ)
           >%(%>0>ÿBÿ<(2Bÿ52&01()4*2ÿV*)&%(0>,ÿV)**)$%0>,ÿ)($ÿV*)&%(0>ÿ:1'0@ÿ>2&)*.ÿ.9)**ÿ)..)+ÿ)ÿ>%(%>0>ÿ'3ÿBÿ<(2Bÿ567ÿ.9)**ÿ('&ÿ42ÿ*%)4*2ÿ3'1ÿ$%12/&ÿ'1ÿ/'(.2=02(&%)*
           *'..2.ÿ.&2>>%(:ÿ$%12/&*+ÿ'1ÿ%($%12/&*+ÿ31'>ÿ>)1X2&ÿT0/&0)&%'(.ÿ)($E'1ÿ)(+ÿ'&921ÿ/)0.2ÿD9)&.'2821ÿ).ÿ)ÿ12.0*&ÿ'3ÿ*)&2ÿ$2*%821+ÿ'3ÿ)(+ÿ>)&21%)*ÿ4+ÿ567Bÿ567ÿ$2*%821+
           ./92$0*2.ÿ)12ÿ.042/&ÿ&'ÿ/9)(:2ÿD%&9'0&ÿ('&%/2B
           ÿ
           MPN{w|ÿC9'0*$ÿ70.&'>21ÿ12=02.&ÿ)(ÿ)$8)(/2ÿ)($ÿ567ÿ)@@1'82ÿ.0/9ÿ)ÿ12=02.&,ÿ70.&'>21ÿD%**ÿ42ÿ12.@'(.%4*2ÿ3'1ÿ)(+ÿ$2</%&ÿ%(ÿ70.&'>21?.ÿ)//'0(&ÿ).ÿ)ÿ12.0*&ÿ'3ÿ)(
           '821Y)$8)(/2Bÿ70.&'>21ÿD%**ÿ42ÿ/9)1:2$ÿ'3ÿBÿ@21ÿ'0(/2ÿ@21ÿ$)+ÿD%&9ÿ)ÿ>%(%>0>ÿ/9)1:2ÿ'3
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           BBÿSC042/&ÿ&'ÿ/9)(:2ÿD%&9'0&ÿ('&%/2Uÿ#(+ÿ)($ÿ)**ÿ.2/01%&+ÿ%(&212.&ÿ%(ÿ70.&'>21?.ÿ>)&21%)*ÿ92*$ÿ4+ÿ70.&'>21ÿD%**ÿ42ÿ12$0/2$ÿ4+ÿ&92ÿ)>'0(&ÿ'3ÿ.0/9ÿ)$8)(/2Bÿ}@'(
           567ÿ&1)(.3211%(:ÿ/'(.%$21)&%'(,ÿ%(ÿ&92ÿ3'1>ÿ'3ÿD%12ÿ&1)(.321,ÿ/92/X,ÿ>2&)*ÿ&1)(.321ÿ'1ÿ'&921D%.2,ÿ&'ÿ70.&'>21ÿ3'1ÿ)($ÿ):)%(.&ÿ70.&'>21?.ÿ>2&)*,ÿ%&*2ÿ&'ÿ.)%$ÿ>2&)*ÿ.9)**
           @)..ÿ%>>2$%)&2*+ÿ&'ÿ567Bÿ#3&21ÿ.)%$ÿ>2&)*ÿ%.ÿ.)>@*2$,ÿ52@04*%/ÿ>)+ÿ/'Y>%(:*2,ÿ$2.&1'+,ÿ'1ÿ0.2ÿ.)%$ÿ>2&)*ÿ%(ÿ)(+ÿ>)((21ÿ567ÿ$22>.ÿ)@@1'@1%)&2Bÿ#$8)(/2.ÿD%**ÿ'(*+ÿ42
           >)$2ÿ):)%(.&ÿ*'&.ÿ)($E'1ÿ>)&21%)*ÿ3'1ÿD9%/9ÿ&92ÿ2.&%>)&2$ÿ2*2>2(&)*ÿ/'(&2(&ÿ9).ÿ422(ÿV1%/2ÿ%A2$B
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           xxPyÿHÿ{QI|ÿ70.&'>21ÿ9).ÿ&92ÿ3'**'D%(:ÿ'@&%'(.ÿD92(ÿ<A%(:ÿ@12/%'0.ÿ>2&)*.ÿD%&9ÿ567R
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        BÿCVÿÿ@1%/2ÿ%.ÿ$2&21>%(2$ÿ4+ÿ567ÿ1)$%(:ÿV21.'((2*ÿ4).2$ÿ'(ÿ&92ÿ>2&)*ÿ@1%/2ÿ).ÿ$2&21>%(2$ÿ4+ÿ:*'4)*ÿ>)1X2&.ÿ)&ÿ&92ÿ&%>2ÿ'3ÿ<A%(:B
           ÿ
        Bÿ~~ÿV6Yÿ<Aÿ12=02.&ÿ>0.&ÿ42ÿ12/2%82$ÿ4+ÿ567ÿ1)$%(:ÿV21.'((2*ÿ4+ÿRÿ#6ÿBCBBÿ&92ÿ$)+ÿ'3ÿ&92ÿ<A
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           \]^_ÿ̀fghÿtdj¡_^ÿpjok_eÿtd¢ÿj_£_k^ÿdÿeco¤l^ÿnoek]iq^ÿdeÿe^opicd^_nÿs¢ÿtdj¡_^ÿk]qno^o]qeu
           ÿ
           70.&'>21ÿD)11)(&.ÿ&9)&ÿ)(+ÿ@01/9).2ÿ'1ÿ.)*2ÿ/'(&1)/&ÿ9).ÿ422(ÿ2;2/&0)&2$ÿ4+ÿ70.&'>21ÿ3'1ÿ&92ÿ.'*2ÿ@01@'.2ÿ'3ÿ.2/01%(:ÿ@1%/%(:ÿ3'1ÿ&92ÿ0*&%>)&2ÿ.)*2ÿ'1ÿ@01/9).2ÿ'3
           @12/%'0.ÿ>2&)*.ÿ)($ÿ9).ÿ('&ÿ422(ÿ>)$2ÿ3'1ÿ)(+ÿ.@2/0*)&%82ÿ12).'(ÿD9)&.'2821Bÿ70.&'>21ÿ92124+ÿ9).ÿ)(ÿ'4*%:)&%'(ÿ&'ÿ$2*%821ÿ'1ÿ@01/9).2ÿ.)%$ÿ>2&)*ÿ&'ÿ'1ÿ31'>ÿ567
           D%&9%(ÿ&2(ÿSUÿ40.%(2..ÿ$)+.ÿ31'>ÿ&92ÿ2;2/&%82ÿ/'(&1)/&ÿ1)$2ÿ)&2BÿC9'0*$ÿ70.&'>21ÿ3)%*ÿ&'ÿ$2*%821E@01/9).2ÿ.)%$ÿ>2&)*ÿD%&9%(ÿ&2(ÿSUÿ40.%(2..ÿ$)+.,ÿ567ÿ12.2182.ÿ&92
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           $02ÿ70.&'>21ÿ).ÿ)ÿ12.0*&ÿ'3ÿ&92ÿ';.2&ÿD%&9%(ÿ)ÿ12).'()4*2ÿ)>'0(&ÿ'3ÿ&%>2BÿC9'0*$ÿ&92ÿ';.2&ÿ12.0*&ÿ%(ÿ70.&'>21ÿ'D%(:ÿ>'(2+.ÿ&'ÿ567,ÿ70.&'>21ÿ.9)**ÿ42ÿ12.@'(.%4*2
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           SZUÿ*%=0%$)&%'(ÿ'3ÿ/0.&'>21ÿ4)*)(/2,ÿSUÿ*2:)*ÿ)/&%'(ÿ%(ÿ301&921)(/2ÿ'3ÿ)(ÿ)&&2>@&ÿ4+ÿ567ÿ&'ÿ12/'821ÿ30($.ÿ$02ÿ).ÿ)ÿ12.0*&ÿ'3ÿ)ÿ12821.)*ÿ'3ÿ&9%.ÿ/'(&1)/&BÿF3ÿ*2:)*ÿ)/&%'(ÿ%.
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          ()*.$%*!0ÿ7%./%*ÿ./!ÿ()*+,#$.%)*ÿ!"ÿ#$%&<ÿ341.)#!,ÿ24,./!,ÿ7$,,$*.1ÿ./$.ÿ1$%0ÿ()*.,$(.ÿ%1ÿ%*ÿ()#;&%$*(!ÿ7%./ÿ./!ÿ=&),%0$ÿ>*%2),#ÿ3)##!,(%$&ÿ3)0!ÿ?ÿ@AB<BCD6ÿ?ÿ@@E<CCF
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          MNOPQÿSTUQVOQWÿX2ÿY!;49&%(ÿZ!.$&1ÿ3),;),$.%)*ÿ%1ÿ;,!L!*.!0ÿ2,)#ÿ()#;&!.%*-ÿ;!,2),#$*(!ÿ)2ÿ$*8ÿ),ÿ$&&ÿ)2ÿ%.1ÿ)9&%-$.%)*1ÿ4*0!,ÿ./%1ÿK-,!!#!*.ÿ98ÿ$*ÿ$(.ÿ)2ÿ[)0ÿ),ÿ$*8
          )./!,ÿ)((4,,!*(!ÿ9!8)*0ÿ%.1ÿ()*.,)&6ÿ./!*ÿY!;49&%(ÿZ!.$&1ÿ3),;),$.%)*ÿ1/$&&ÿ9!ÿ!\(41!0ÿ2,)#ÿ24,./!,ÿ;!,2),#$*(!ÿ4;)*ÿ*).%(!ÿ.)ÿ341.)#!,ÿ1.$.%*-ÿ./!ÿ,!$1)*ÿ2),ÿ./!
          *)*;!,2),#$*(!<ÿK00%.%)*$&&86ÿ./!ÿ;$,.%!1ÿ4*0!,1.$*0ÿ./$.ÿ;!,2),#$*(!ÿ98ÿY!;49&%(ÿZ!.$&1ÿ3),;),$.%)*ÿ#$8ÿ9!ÿ%*.!,,4;.!0ÿ),ÿ0!&$8!0ÿ98ÿ$*ÿ)((4,,!*(!ÿ)4.1%0!ÿ)2ÿ%.1
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          7/$.1)!L!,6ÿ),ÿ()*04(.ÿ)2ÿ./%,0ÿ;$,.%!1<ÿX2ÿ./$.ÿ1/)4&0ÿ)((4,6ÿY!;49&%(ÿZ!.$&1ÿ3),;),$.%)*ÿ1/$&&ÿ9!ÿ!\(41!0ÿ2,)#ÿ;!,2),#$*(!ÿ2),ÿ$1ÿ&)*-ÿ$1ÿ,!$1)*$9&8ÿ*!(!11$,8ÿ.)
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          &%$9%&%.%!1ÿ)2ÿYZ3ÿ.)ÿ341.)#!,ÿ$,%1%*-ÿ)4.ÿ)2ÿ),ÿ,!&$.%*-ÿ.)ÿ$*8ÿ9,!$(/ÿ)2ÿ7$,,$*.8ÿ1/$&&ÿ*).ÿ!\(!!0ÿ./!ÿ$--,!-$.!ÿ,!+*%*-ÿ2!!1ÿ$(.4$&&8ÿ;$%0ÿ98ÿ341.)#!,ÿ.)ÿYZ3ÿ%*ÿ,!-$,0
          .)ÿ./!ÿ#$.!,%$&1ÿ),ÿ,!.4,*$9&!ÿ#!.$&1ÿ7/%(/ÿ$,!ÿ./!ÿ149g!(.ÿ.)ÿ./!ÿ9,!$(/<
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          K1ÿ$ÿ()*0%.%)*ÿ;,!(!0!*.ÿ.)ÿ()*04(.%*-ÿ941%*!11ÿ7%./ÿYZ36ÿ341.)#!,ÿ$-,!!1ÿ./$.ÿ%2ÿ341.)#!,ÿ2$%&1ÿ.)ÿ()#;&8ÿ7%./ÿ$*8ÿ)2ÿ%.1ÿ)9&%-$.%)*1ÿ/!,!%*6ÿ341.)#!,ÿ7%&&ÿ%*0!#*%28
          $*0ÿ/)&0ÿYZ3ÿ/$,#&!11ÿ2,)#ÿ$&&ÿ%*g4,%!16ÿ()1.16ÿ14%.16ÿ!\;!*1!1ÿH%*(&40%*-ÿ7%./)4.ÿ&%#%.$.%)*ÿ$..),*!851ÿ2!!1ÿ$*0ÿ)./!,ÿ()1.1ÿ)2ÿ0!2!*1!1J6ÿ&%$9%&%.%!16ÿ+*!16ÿ;!*$&.%!16
          g40-#!*.16ÿ()1.ÿ)2ÿ1!..&!#!*.6ÿ&)11!1ÿ$*0ÿ)./!,ÿ0$#$-!1ÿ./$.ÿYZ3ÿ#$8ÿ%*(4,ÿ$1ÿ$ÿ,!14&.ÿ)2ÿ14(/ÿ2$%&4,!ÿ98ÿ341.)#!,<
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          hicQjOTc`NiWÿk/%1ÿ%*1.,4#!*.ÿ()*.$%*1ÿ./!ÿ!*.%,!ÿ$-,!!#!*.ÿ9!.7!!*ÿ./!ÿ;$,.%!1ÿ,!&$.%*-ÿ.)ÿ./!ÿ,%-/.1ÿ-,$*.!0ÿ$*0ÿ./!ÿ)9&%-$.%)*1ÿ$114#!06ÿ$*0ÿ%*(),;),$.!0ÿ$&&
          ,!;,!1!*.$.%)*1ÿ),ÿ#)0%+($.%)*1ÿ()*(!,*%*-ÿ./%1ÿ%*1.,4#!*.ÿ7/!./!,ÿ$,%1%*-ÿ2,)#ÿ$*8ÿ41$-!ÿ),ÿ.,$0!6ÿ()4,1!ÿ)2ÿ0!$&%*-6ÿ$((!;.!0ÿ%*041.,8ÿ;,$(.%(!6ÿ()4,1!ÿ)2
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          lTOc`QmWÿn)./ÿo$,.%!1ÿ$-,!!ÿ./$.ÿ./!8ÿ$,!ÿ#!,(/$*.1ÿ$1ÿ0!+*!0ÿ%*ÿ./!ÿ>*%2),#ÿ3)##!,(%$&ÿ3)0!ÿ?ÿB"DCIÿHDJ<
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          pT`qQOWÿk/!ÿ7$%L!,ÿ98ÿYZ3ÿ)2ÿ$*8ÿ341.)#!,ÿ9,!$(/ÿ)2ÿ./!1!ÿr.$*0$,0ÿk!,#1ÿ),ÿ2),9!$,$*(!ÿ)2ÿYZ3ÿ.)ÿ!*2),(!ÿ%.1ÿ,%-/.1ÿ/!,!4*0!,ÿ1/$&&ÿ*).ÿ);!,$.!ÿ$1ÿ),ÿ9!ÿ()*1.,4!0
          $1ÿ$ÿ7$%L!,ÿ)2ÿ1491!e4!*.ÿ9,!$(/ÿ98ÿ341.)#!,ÿ),ÿ$ÿ7$%L!,ÿ)2ÿ,%-/.1ÿ)2ÿYZ3<
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          SNt`uPTc`NiÿNvÿwQOxmÿTitÿyNit`c`Nim]ÿk/!ÿ.!,#16ÿ()*0%.%)*16ÿ1.%;4&$.%)*16ÿ,4&!16ÿ,!-4&$.%)*1ÿ$*0ÿ1(/!04&!1ÿ1!.ÿ2),./ÿ/!,!%*ÿ$,!ÿ149g!(.ÿ.)ÿ(/$*-!ÿ7%./)4.ÿ;,%),ÿ*).%(!<ÿ
          YZ3ÿ1;!(%+($&&8ÿ,!1!,L!1ÿ./!ÿ,%-/.ÿ.)ÿ1)ÿ$#!*06ÿ(/$*-!6ÿ,!L%1!ÿ$*0:),ÿ#)0%28ÿ1$#!ÿ%*ÿ%.1ÿ1)&!ÿ);.%)*ÿ$*0ÿ0%1(,!.%)*<ÿ>;)*ÿ,!(!%;.ÿ)2ÿ./!1!ÿr.$*0$,0ÿk!,#1ÿ$*0ÿ[!*!,$&
          z;!,$.%*-ÿ3)*0%.%)*1ÿ$*0ÿ$1ÿ./!8ÿ#$8ÿ9!ÿ1491!e4!*.&8ÿ$#!*0!06ÿ(/$*-!06ÿ,!L%1!0ÿ$*0:),ÿ#)0%+!06ÿ./!ÿ341.)#!,ÿ$-,!!1ÿ.)ÿ9!ÿ9)4*0ÿ98ÿ$*0ÿ149g!(.ÿ.)ÿ1$#!ÿ4;)*
          0!&%L!,8<ÿÿ{!&%L!,8ÿ1/$&&ÿ9!ÿ0!!#!0ÿ()#;&!.!0ÿ98ÿ/$L%*-ÿ9!!*ÿ#$0!ÿ%*ÿ;!,1)*6ÿ98ÿ,!-4&$,ÿ#$%&6ÿ98ÿ2$\6ÿL%$ÿ!#$%&ÿ),ÿ)*ÿ./!ÿ%*.!,*!.<ÿX*ÿ$00%.%)*6ÿ./!1!ÿr.$*0$,0ÿk!,#1
          $*0ÿ3)*0%.%)*1ÿ1/$&&ÿ9!ÿ0!!#!0ÿ.)ÿ9!ÿ%*(),;),$.!0ÿ%*.)ÿ!$(/ÿ$*0ÿ!L!,8ÿ.,$*1$(.%)*ÿ9!.7!!*ÿYZ3ÿ$*0ÿ341.)#!,6ÿ7/!./!,ÿ),ÿ*).ÿ1;!(%+($&&8ÿ1.$.!0ÿ./!,!%*<
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          |}QPVc`NiÿNvÿscTitTOtÿwQOxmÿTitÿ~QiQOTbÿQOTc`ijÿyNit`c`NimWÿX*ÿ./!ÿ!L!*.ÿ$*ÿ!&!(.,)*%(ÿ1%-*$.4,!ÿ),ÿ14(/ÿ1%#%&$,ÿ1%-*$.4,!ÿ$((!;.%*-ÿYZ351ÿr.$*0$,0ÿk!,#1ÿ$*0
          [!*!,$&ÿz;!,$.%*-ÿ3)*0%.%)*1ÿ%1ÿ,!e4%,!0ÿ98ÿYZ3ÿ$1ÿ;$,.ÿ)2ÿ./!ÿ)*9)$,0%*-ÿ;,)(!11ÿ)2ÿ$ÿ*!7ÿ341.)#!,ÿ./!ÿ341.)#!,ÿ1/$&&ÿ()#;&8ÿ7%./ÿ./$.ÿ,!e4%,!#!*.<ÿ=$%&4,!ÿ.)ÿ1)
          ()#;&8ÿ7%&&ÿ,!14&.ÿ%*ÿ./!ÿYZ351ÿ0!(&%*%*-ÿ.)ÿ$;;,)L!ÿ./!ÿ341.)#!,<ÿ>*.%&ÿ14(/ÿ.%#!ÿ$1ÿ$*ÿ!&!(.,)*%(ÿ1%-*$.4,!ÿ),ÿ14(/ÿ)./!,ÿ1%#%&$,ÿ1%-*$.4,!ÿ)2ÿ$ÿ*!7ÿ341.)#!,ÿ%1
          ,!e4%,!0ÿ$1ÿ;$,.ÿ)2ÿ./!ÿ)*ÿ9)$,0%*-ÿ;,)(!11ÿ./!ÿ2$%&4,!ÿ)2ÿ./!ÿ*!7ÿ341.)#!,ÿ.)ÿ!\!(4.!ÿYZ351ÿr.$*0$,0ÿk!,#1ÿ$*0ÿ[!*!,$&ÿz;!,$.%*-ÿ3)*0%.%)*1ÿÿÿ1/$&&ÿ*).ÿ,!&%!L!ÿ./$.
          341.)#!,ÿ2,)#ÿ9!%*-ÿ149g!(.ÿ.)ÿ1$#!<ÿ3)#;&!.%)*ÿ)2ÿ./!ÿ./!*ÿ!\%1.%*-ÿ)*ÿ9)$,0%*-ÿ;,)(!11ÿ1/$&&ÿ()*(&41%L!&8ÿ9!ÿ0!!#!0ÿ.)ÿ9!ÿ$((!;.$*(!ÿ98ÿ341.)#!,ÿ)2ÿ1$%0ÿ.!,#1
          $*0ÿ()*0%.%)*1<ÿk/!ÿ.!,#1ÿ$*0ÿ()*0%.%)*1ÿ1!.ÿ2),./ÿ/!,!%*ÿ()*.$%*ÿ1(/!04&!1ÿ$*0ÿ.!,#1ÿ$*0ÿ()*0%.%)*1ÿ$,!ÿ149g!(.ÿ.)ÿ(/$*-!ÿ7%./)4.ÿ*).%(!<ÿ>;)*ÿ,!(!%;.ÿ)2ÿ./!1!
          r.$*0$,0ÿk!,#1ÿ$*0ÿ[!*!,$&ÿ3)*0%.%)*16ÿ7/!./!,ÿL%$ÿ2$\6ÿ#$%&6ÿ),ÿ%*ÿ;!,1)*6ÿX6ÿ$*0:),ÿ./!ÿ()#;$*8ÿXÿ,!;,!1!*.ÿ$*0:),ÿ2),ÿ7/%(/ÿXÿ$#ÿ$*ÿ$-!*.6ÿ$-,!!1ÿ.)ÿ9!ÿ9)4*0ÿ98ÿ./!
          .!,#16ÿ()*0%.%)*16ÿ1.%;4&$.%)*16ÿ,4&!16ÿ$*0ÿ,!-4&$.%)*1ÿ()*.$%*!0ÿ/!,!%*<ÿ{!&%L!,%*-ÿ#$.!,%$&ÿ),ÿ0)%*-ÿ941%*!11ÿ7%./ÿYZ3ÿ$2.!,ÿ/$L%*-ÿ,!(!%L!0ÿ./!ÿr.$*0$,0ÿk!,#1ÿ$*0
          [!*!,$&ÿz;!,$.%*-ÿ3)*0%.%)*1ÿ0!!#1ÿ./$.ÿXÿ/$L!ÿ$-,!!0ÿ.)ÿ$((!;.ÿ./!ÿk!,#1ÿ$*0ÿ[!*!,$&ÿ3)*0%.%)*1ÿ()*.$%*!0ÿ/!,!%*ÿ,!-$,0&!11ÿ)2ÿ7/!./!,ÿXÿ/$L!ÿ1%-*!0ÿ./%1
          $-,!!#!*.<




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                                           Pg 63 of 63


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of February, 2019, I caused a true and correct copy

of the foregoing Omnibus Response of The Senior Lenders to Customer Statements Pursuant to

Order Approving Uniform Procedures for Resolution of Ownership Disputes to be filed and

served through ECF notification upon all parties who receive notice in this matter pursuant to the

Court’s ECF filing system.


                                                    /s/ Michael Luskin
                                                    Michael Luskin
